Case 2:17-cv-02235-PKH Document 3 Filed 12/21/17 Page 1 729*|ar I'EBE#$W‘?"C““CIH"‘
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IN THE CIRCUIT COURT OF CRAWFORD COUN'I`Y, ARKANSAS
CIVIL DIVISION

JOSHUA SHARP PLAINTIFF

VS. CASE NO.

 

STATE FARM FIRE AN]) CASUALTY COMPANY
& JOHN DOES I-X DEFENDANTS

COMPLAINT
COMES NOW, the Plaintiff, Joshua Sharp, and for this Complaint and cause of action

against Defendants, State Farrn Fire and Casualty Company and John Does I~X, does state and

allege as follows:

1. That the Pla'intiif, Joshua Sharp, is and Was at all times relevant and material to this case
a citizen and resident of Alrna, Crawford County, Arkansas.

2. That the Defendant, State Farm Fire and Casualty Cornpany, is and Was at all times
relevant and material to this case an Illinois corporation, a foreign for-profit insurance
company, and was registered and doing business in the State of Arkansas.

3. That this is an action for damages suffered by the Plaintiff due to a breach of contract
claim against State Farm Fire and Casualty Company, and related causes of action set
forth more fully herein.

4. Venue and jurisdiction are proper in this County and District pursuant to ARK. CODE

ANN. § 16-60-10] and ARK. CODE ANN. § 16-13-201.

EXH.._.'P_'T

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10.

That, further identified as John Docs IFX in Pla.intift"s Complaint are other responsible
parties and other possible agents for State Fann Fire and Casualty Company. That John
Does I-X are persons, corporations or other responsible parties, and their agents, ofticers,
employees, or contractors Thc identities of these John Doe defendants, despite the
Plaintiff’s best intbnnation, is unknown at this time.

That attached hereto as Exhihit “A" is the John Doe Afiidavit pursuant to ARK. CODE
ANN. § 16~56-125 regarding the identities and Whereabouts of lane and John Does I-X.
'l`hat on or about November 9, 2016, the Plaintit`t`, Joshua Sharp’s, home located at 3277
Highway 282, Alma, AR 72921 was broken into and a majority of the contents were
either stolen or vandalized.

'[`hat, on the date of the loss, Joshua Sharp’s personal property Was covered by State Farm
Fire and Casualty Company Renter’s Policy Number 04-BU-C433-0 in the amount of
$30,000.00. A copy of the declarations page of Policy Number 04-BU~C433-0 is
attached hereto as Exhibit “B.” A copy of the standard~forni Renter’s Policy Ntunber-FP-
7954, which sets forth the terms and conditions of Policy Number 04-BU-C433-0 is
attached hereto as Exhibit “C."

'I`hat, on the date of the loss, Joshua Sharp’s personal property included three (3) watches,
particularly, a Rolex Subrnariner Watch Model # 11661A30B97 (Serial # 29Q5E790), a
Rolex Yacht-Master Watch Model # 116622 (Serial # 81A292C2), and a Breitling
Avenger ll Seawolf Watch (Serial # 28 85687), Which Were stolen from his home.

That, on the date of the loss, the three (3) watches referenced in the preceding paragraph
Were covered by State Farm Fire and Casualty Cornpany Personal Articles Policy

Number 04-BU~S658-7 in the amount of $24,425.00. That, particularly, the Rolex

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Submariner watch was insured for $8,550.00, the Rolex Yacht-Master watch Was insured
for $11,550.00, and the Breitling Avenger ll Seawolf watch Was insured for $4,325.00.
A copy of the declarations page of Policy Number 04-BU~5658-7' is attached hereto as
Exhibit “D.” A copy of the standard-form Personal Articles Policy Number FP-7940.2,
which sets forth the terms and conditions of Pclicy Number 04-BU-8658-7 is attached
hereto as Exhibit “E.”

'I'hat, in order to obtain the Personal Articles policy referenced in the preceding
paragraph, Joshua Sharp was required to provide State Farrn Fire and Casualty Company
with proof of ownership and supporting documentation for valuing the three (3) watches
referenced in the preceding paragraph That State Fann Fire and Casualty Company is
currently in possession of these documents and has had them since well before the date of
the loss that is the subject of this case.

That Joshua Shar_p promptly reported this theft to the Crawford County Sheritt’s Oftice
on Novembcr 9, 2016.

That Joshua Sharp promptly reported this theft to State Farm Fire and Casualty Company,
submitting a “Loss Inventory” on Novernber 11, 2016, and updating/supplementing the
“Loss Inventoly” on November 13, 2016 and Noveniber 16, 2016 .

That Joshua Sharp gave a recorded statement to State Fann Fire and Casualty Cornpany
on November 17, 2016.

That Joshua Sharp submitted to an examination under oath conducted by a lawyer
representing State Farrn Fire and Casualty Cornpany on September 6, 201?.

'I`hat Joshua Sharp has cooperated with State Farrn Fire and Casualty Company

throughout the course of their investigation by submitting to interviews and providing

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supporting documents, including, but not limited to, photographs receipts, telephone
records, tax returns, bank account records, and lists of witnesses

That State Fann Fire and Casualty Company has a contractual duty to compensate Joshua
Sharp for the loss he sustained on Novcmber 9, 2016.

That, despite .loshua Sharp’s cooperation, State Farm Fire and Casualty Company has
failed to compensate Joshua Sharp for the loss he sustained on November 9, 2016.

That, on October 30, 2017, Joshua Sharp, by and through his attorney, made a written
demand including an itemized spreadsheet of the items of personal property that were
stolen on Novernber 9, 2016. That this demand letter and spreadsheet included
references to supporting documents such as receipts and photographs, as well as contact
information for witnesses that can confirm Joshua Sharp’s ownership of many of the
listed items.

That State Farm Fire and Casualty Cornpany has in its possession the supporting
documents referenced in the preceding paragraph

That, State Farrn Fire and Casualty Company has in its possession documents that prove
Joshua Sharp’s ownership of the three (3) watches covered by State Farm Fire and
Casualty Company Personal Articles Policy Number 04-BU-S658-7 in the amount of
$24,425.00.

That, State Farin Fire and Casualty Company has in its possession receipts, contact
information for witnesses, photographsJ or a combination of the three, all in support of
Joshua Sharp’s ownership of covered personal property in the amount of $3 6,399.75.
The policy limits of State Farm Fire and Casualty Cornpany Renter’s Policy Number 04-

BU-c433-0'is s30,000.00.

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23. That, State Farm Fire and Casualty Company has in its possession receipts, contact
information for witnesses, photographs, and other supporting documents, that
demonstrate Joshua Sharp‘s ownership of personal property in excess of the combined
policy limits of the two insurance policies-$54,425.00.

24. That, on November 2, 2017, State Farm Fire and Casualty Company, by and through it
attorney, sent a letter in response to Joshua Shalp’s October 30, 2017 demand letter and
proof of loss. That, in this letter, State Farrn Fire and Casualty Colnpany neither
approved nor denied Joshua Sharp’s claim, but rather aslced:

At Mr. Sharp’s EUO, he testified that he would obtain copies of receipts
or credit card statements for many of the items he claimed were stolen
(and for which he had not already provided proof of purchase). ls he

going to provide any more receipts or statements?

Also, please note that on the day of the reported theft your client increased
his coverage on his renter’s policy to $50,000.

25. 'l`hat Joshua Sharp did not increase his coverage on his renter’s policy to $50,000.00.
Rather, Joshua Sharp had inquired about increasing the amount of coverage on his
renter’s policy because he had purchased some pieces of memorabilia, but was told that
he would need to increase the amount of coverage on his personal articles policy. That
this had not been done at the time of the loss because .loshua Sharp had not yet received
the new pieces of memorabilia from the dealer.

26. 'l`hat State Farm Fire and Casualty Cornpany has a contractual duty to compensate loshua
Sharp for the loss he sustained on November 9, 2016.

27. That, despite Joshua Sharp’s cooperation, State Farm Fire and Casualty Company has
failed to compensate ]oshua Sharp for the loss he sustained on November 9, 2016.

28. That, other than the response described in the paragraph 24, State Fann Fire and Casualty

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Company has offered no explanation for its failure to compensate Joshua Sharp for the
loss he sustained on November 9, 2016.

29. That the Defendant, State Farm Fire and Casualty Company, is liable for breach of
contract in the following particulars, to-wit:

a. That, between .loshua Sharp and State I"arm Fire and Casualty Company, there
existed two (2) Valid and enforceable contracts;

b. That the contracts required State Farm Fire and Casualty Company to pay the cost
of repairing or replacing the stolen property;

c. That the Plaintiif did what the contracts required of him, namely making timely
payment of insurance premiums and submitting to, and cooperating with, State
Farm Fire and Casualty Company’s investigation into the loss; and

d. 'l`hat State Fann Fire and Casualty Company did not do what the contracts
required of it, namely that it failed to compensate Joshua Sharp for the loss he
sustained on November 9, 2017.

30. That the Plaintiff is entitled to compensatory damages against the Defendant, State Farrn
Fire and Casualty Company, all as the evidence may show.

3l. That, pursuant to ARK. CODE ANN, § 23-79-208, the Plaintiff is entitled to an additional
twelve percent (12%) damages upon the amount of the loss, together with all reasonable
attomey’s fees for the prosecution and collection of the loss.

32. That the Plaintiff is entitled to prejudgment interest, postjudgment interest, and costs.
That the attorney fees should begin to accrue since the time of the loss through the date of
the final resolution of this matter and that prejudgment interest is also warranted since the

amount in controversy is a sum certain

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33. That the Plaintiff is entitled to punitive damages because State Fann Fire and Casualty
Company knew or ought to have lmown., in light of the surrounding circumstanccs, that
its conduct would naturally and probably result in damage to J'oshua Sharp and it has
continued its course of conduct with malice or in reckless disregard of the consequences
from which malice may be inferred

34. That the Plaintiff -is entitled to punitive damages for State Farm Fire and Casualty
Company’s Willful, wanton, and reckless disregard in delaying and avoiding payment

35. That the Plaintiff demands a jury trial.

Q)_".__ UN'lI
Breach of Contract

36. Plajntiii` re-adopts and re-alleges paragraphs 1 through 35.
37. That the Defendant is liable for breach of contract in the following particulars, to-Wit:
a. That, between Joshua Sharp and State Farrn Fire and Casualty Cornpany, there
existed two (2) valid and enforceable contracts;
b. That the contracts required State Farrn Fire and Casualty Company to pay the cost
of repairing or replacing the stolen property;
c. That the Plaintiff did What the contracts required of him, namely making timely
payment of insurance premiums and submitting to, and cooperating with, State
F arm Fire and Casualty Company’s investigation into the loss; and
d. That State Farm Fire and Casualty Company did not do what the contracts
required of it, namely that it failed to compensate loshua Sharp for the loss he
sustained on Novernber 9, 2017.
38. That the failure of State Fal'm Fire and Casualty Cornpany to compensate Joshtla Sharp

for the loss he sustained en November 9, 201? Was the direct and proximate cause of the

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injury/loss suffered by the Plaintiff, dloshna Sharp.

_QQM
Uniust Enrichment

39. Plaintiff re-adopts and re-alleges paragraphs 1 through 33.

40. That the Defendant is liable for unjust enrichment in the following particulars to-Wit:

£l.

That, Joshua Sharp paid insurance premiums for both the Renter’s Policy and the
Personal Articles Policy to State Farm Fire and Casualty Company, Who received
the beneht of such insurance premium payments;

That the circumstances were such that Joshua Sharp reasonably expected to be
paid the value of such insurance premiums in that he expected to receive payment
for his loss sustained in the event of a covered hazard;

That State Faim Fire and Casualty Company was aware that Joshua Sharp was
providing such insurance premium payments with the expectation of receiving
payment for his loss sustained in the event of a covered hazard and State Fann
Fire and Casualty Company accepted the payments; and

The reasonable value of such money received by State Farrn Fire and Casualty
Company is the total amount of premiums paid by loshua Sharp, all as the

evidence may show.

41. That the acceptance of insurance premium payments from Joshua Sharp and State Farm

Fire and Casualty Company’s subsequent failure to compensate Joshua Sharp for his loss

sustained in the event of a covered hazard, namely the covered loss he sustained on

November 9, 2017, Was the direct and proximate cause of the injury/loss suffered by the

Plaintiff, Joshua Sharp.

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COUNT III
Promissor_'y Estoppel

42. Plaintiffre-adopts and re-alleges paragraphs l through 41.

43. That the Defendant is liable for promissory estoppel in the following particulars, to~wit:

a. That, State Farm Fire and Casualty Company made promises to Joshua Sharp in
that it offered coverage for his personal property via State Farm Fire and Casualty
Company Renter’s Policy Number 04-BU-C433-0 and Personal Articles Policy
Number 04-BU-8658-7;

b. That State Farm Fire and Casualty Company should reasonably have expected
Joshua Shaip to act in reliance on the promises;

c. That Joshua Sharp acted in reliance on the promises to his detriment, in that he
abstained from insuring his personal property through another insurance
company; and

d. That injustice can only be avoided by enforcement of the promises that State
Farm Fire and Casualty Company made to Joshua Sharp_ to cover his personal
property from loss.

44. That Joshua Sharp’s reliance on the promises of State Farrn Fire and Casualty Cornpany
and the Defendant’S subsequent failure to compensate lloshua Sharp for his loss sustained
on November 9, 201'?, was the direct and proximate cause of the injuryfloss suffered by
the Plaintiff, Joshua Sharp.

C()UN'I` IV
Conversion of Personal Propertv

45. Plaintiff re-adopts and re-alleges paragraphs l through 44.

46. That the Dei`endant is liable for conversion in the following particulars, to~wit:

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a. That loshua Sharp owned the money that he used to pay insurance premiums to
State Fann Fire and Casualty Company; and

b. That State Farm Fire and Casualty Cornpany intentionally took or exercised
dominion or control over the insurance premiums in violation of Joshua Sharp’s
rights, in that it accepted the insurance premiums and then failed to compensate
Joshua Sharp for his loss sustained on Novcmber 9, 2016.

47. That State Fann Fire and Casualty Company’s intentional taking or exercise of dominion
or control over loshua Sharp’s insurance premiums, in that it accepted the insurance
premiums and then failed to compensate Joshua Sharp for his loss sustained on
Noveinber 9, 2016, was the direct and proximate cause of the injury/loss suffered by the
Plaintiff`, JoShua Sharp.

COUNT V
Bad Faith

43. Plaintiff rts-adopts and re-alleges paragraphs 1 through 47.
49. 'l` hat the Defendant is liable for bad faith in the following partieulars, to-wit:
a. That, the Plaintiff, Joshua Sharp, sustained damages in that many items of his
personal property were stolen on November 9, 2017;
b. That, State Farm Fire and Casualty Company acted in bad faith in an attempt to
avoid liability under its policies issued to ioshua Sharp, namely that it;
i. Has in its possession documents that prove Joshua Sharp’s ownership of
the three (3) Watchcs covered by State Farrn Fire and Casualty Company
Personal Al'ticles Policy Number 04-BU-S658-7 in the amount of
$24,425.00. That, in order to obtain this Personal Alticles policy, Joshua

Sharp Was required to provide State Farm Fire and Casualty Cornpany

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ii.

iii.

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viii.

with proof of ownership and supporting documentation for valuing the
three (3) watches That State Farrn Fine and Casualty Company has had
these supporting documents ever since the policy Was issued, Well before
the date of the loss that is the subject of this case.

Has ind its possession receipts, contact information for Witnesses,
photographs, or a combination of the three, all in support of loshua
Sharp’s ownership of covered personal property in the amount of
$36,399.75, an amount in excess of the $30,000.00 policy limits of State
Parm Fire and Casualty Company Renter’s Policy Number 04-BU-C433-
0.

I~Ias been aware of the loss sinee, at most, two days after the loss,
November ll, 2016.

Has in its possession the “Loss lnventory” submitted by Josliua Sharp on
Noven'rber ll, 2016, November 13, 2016, and Novernber 16, 2016.

Has is in its possession Jcshua Sharp’s recorded statement taken on
November l’i, 2016.

By and through its attorney, took Joshua Sharp’s examination under oath
on September 6, 2017.

Has neither approved nor denied Joshua Sharp’s olaim.

Has offered no explanation for its failure to compensate Joshua Sharp for
the loss he sustained on Novernber 9, 2017 other than the inquiries quoted

in paragraph 24.

e. That, such conduct proximately caused damage to Joshua Sharp.

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50. That, pursuant to Aer‘na Casnaltv and Suretv Company v. Broadwav Ar'ms Corpomtion,

51.

State Farm Fire and Casualty Company’s actions described herein constitute affirmative
misconduct, without a good faith dcfense, and the misconduct was dislronest, malicious,
or oppressive, and done in an attempt to avoid its liability under State Farrn Fire and
Casualty Company Personal Ar'ticles Policy Number 04-B»U-S658~'ir and Renter’s Policy
Number 04-BU-C433~0. See 281 Ark. 123, 665 S.W.Zd 463 (1984). That State Farm
Fire and Casualty Company’s conduct and the surrounding circumstances are such that
actual malice may be inferred therefi'om.

That State Farnr Fire and Casualty Company’s acting in bad faith _in an attempt to avoid
liability under its policies was the direct and proximate cause of the injury/loss suffered

by the Plaintiff, Joshua Sharp.

WHEREFORE, the Plaintiff prays for judgment against the Defendants as hereinaner set

forth.

DEMANI) ron JURY TRIAL
Plaintiffre-adopts and re-alleges paragraphs 1-51 as if fully set forth herein
Plaintiff demands a trial by jury.
Plaintiff reserves the right to amend this Complaint, including the addition or deletion of
claims and parties as warranted by discovery

])AMAGES

Plaintiff seeks compensatory damages, punitive damages, attorney’s fees, costs, pre-
judgment interest, post-judgment interest, and the additional twelve percent (12%)

damages upon the amount of loss pursuant to ARK. CODE ANN. § 23-79-208.

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PRAYER FOR RELIEF
WHER}EFORE, Plaintifl" demands judgment against the Defendant on each of the above-
referenced claims and Causes of Action, and as follows:

l. All compensatory damages for the coverage provided in State Farm Fire and Casualty
Company Renter’s Policy Number 04-BU-C433-0 and Personal Articles Policy Number
04-BU-SG53-7;

24 lAll compensatory damages permitted by Arlcansas law;

3. Punitive damages;

4. For Piaintiff’s reasonable attorney’s fees;

5. For pre-judgment interest;

6. For Plaintiff‘s costs incurred herein, together with interest thereon at the highest lawful
rate from the date of judgment until paid in full ;

'i'. For the additional twelve percent (12%) damages upon the amount of loss pursuant to
ARI<. Cor)s ANN. § 23-'79-208;

8. F or all other relief requested herein; and

9. F or such other relief as the Court deems just and proper.

WHEREFORB, the Plaintiif, Joshua Shaip, prays for judgment against the Defendant,
State Farrn Fire and Casualty Company, for all elements of damages set forth herein, all as the
evidence may show in a sum and amount of damages to be determined by ajury at trial in excess
of the amount required for diversity jurisdiction pursuant to 28 U.S.C. § 1332, and for all other
darnages, including all general, special, and compensatory damages permitted under Arka.nsas
law, punitive damages, all costs, attorney’s fees, and interest, and the additional twelve percent

(12%) damages upon the amount of loss pursuant to ARK. CODE ANN. § 23-79-208, and for all

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other just and proper relief to which the Plaintiff is shown to be entitled, Wllether prayed for

herein or not.

Respectfully submitted on behalf of

Joshua Sharp

eriak‘l€y Coak.eanpben
Arl<ansas Bar No. 2015236
Oklahoma BaI No. 32901
Attorney for Plaintiff

The Law Ofl'ices of Craig L. Cook
Attorney at Law

319 Norch s"‘ street

Fort Smith, AR 72901

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Fax No. (479)783-3002
brinl<lev@awofiicesofcraiglcook.com

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VERIFICATION

I, loshua Sharp, State upon oath that the statements contained in the above and foregoing

COMPLAINT are true and correct to the best of my knowledge and belief.

Jos a Sharp

ACKN()WLEDGMENT

sTATEoF gi ifll{]§@§_)

coUNTY or d ildl/L/

On this, the w day of November, 2017, before me, the undersigned citieer,

   

personally appeared Joshua Sharp, known to me or satisfactorily proven to be the person Whose

name is subscribed to the within instrument and acknowledged that he executed the same for the

purposes therein contained

In Witness Whereof l hereunto set my hand and official seal. _

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My Commission Expires:

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_. ,, _ Apr 5. 2024

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EXHIBIT “A”
RE: JOSHUA SI'IARP

JOI'IN ])OE AFFIDAVIT

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lN THE CIRCUIT COURT OF CRAWFOR]) COUNTY, ARKANSAS

 

CIVIL I)IVISION
.IOSHUA SHARP PLAINTIFF
VS. CASE NO.
STATE FARM FIRE AND CASUALTY COMPANY
DEFENDANTS

& JOH]_`I DOES I-X

AFFII)AVI'I`

Comes now the Af`flant pursuant to ARI<.. CODE ANN. § 16-56-125 and for his affidavit

doth State, under oath, as follows:

That several of the possible defendants are unknown, Whieh will be designated as John

Doe I, John Doe II, John Doe III, etc,, which is necessary for the tolling of the Statute of

Limitations; that should the tortfeasor(s) become known, that the Complaint will be amended to

re-substitute the real name for the pseudo-name.

F URTHER THE AFFIANT SAYE'H~I NOT. BY:.%”W W

Brinlc "/

ook- Campbell
01 523 6
OBN: 32901
The Law Oftices of Craig L. Cook
Attorney at Law
319 Nerrh s‘“ street
Fort Smith, AR 7290]
Phone No. (479)783-8000

rex Ne. (479)733~3002

EXHIBIT #A

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stare oF ARKANSAS )
CoUNTY or sEBAsTIAN )

On this the §§ day of November, 2017, before me, the undersigned ofiieer, personally
appeared Brinldey Coolc»Campbell, known to me or satisfactorily proven to be the person whose

name is subscribed to the Within installment and acknowledged that he executed the same for the

purposes therein contained

In witness whereof l hereunto set my hand and official seal.

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AMY sEitER
arkansas - Seuast|an County
Notary Publ|c ~ comm# 1239?907
My Commissicn Expires Apr 5, 2024

  
     
   

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EXHIBI'I` “B”
RE: JOSHUA SI-IARP

RENTER’S POLICY NUMBER 04-BU-C443-0

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'-."ii." ,

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State Farm Firo and Ca ualty

A Siocl< Company Wiih

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Coiumbla, MO 6521?-0001

Named lnsured

SHARP, JDSHUA
PD BCIX 3
RUDY AR

ENTEF¥S POLICY
lomatic Renewal ~ lt the polic\,l period is shown as 12 months, this policy will he renewed automatically subject to the
miums, rules and forms in effect for each succeeding policy period. lf this policy is terminaled, we Will give you and the
rig ageefl_ienholder written notice in compliance with the policy provisions cr as required by law.

:ation of Flesidenee Premises
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DECLAHA`I'IONS PAGE
Policy Number 04-B U~C¢€|:JB-D

 

 

Policyr Perlod Etiect|vc Date Ex lratlon Date
12 Months JUN 29 2016 J N 29 2017
The policy_ period begins and ends at 12:01 am
standard time at the residence premises

 

 

 

 

Jzone: 13

verages & Property

limits of Llablllty

|nflation Ccverage tnclex: 240,3
Deductibles - Section l

 

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amage to Property s . .

of Dthers $ - 500 in case of loss under this policy1 the deductibles wilt be applied
Med\ca| Paymenis to er occurrence and wlli be deducted from the amount cf the
O!hers {Each Person) $ 1,000 oss_ Other deductibles may apply - refer to pclicy,
is Settlement Provlsicn (Bee Policy) Policyl Premium _ $ 315 . 00
Limiied Fieplacem`ent Oost 1 Coverage B Earlhqual<e E’remlum 21 .Ol) Ine`luded

- Sewer & Drain _ 5 , 00 InCl tide

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mandatory Endorsemen Renters 115-2343
irlhqueke lrlcl Masonry Veneer FE~'7301 . 4

 

()ther limits and exclusions may apply - refer to your policy

sr policy consists ct this age, any endorsements
the policy icrm. Please sep lheso togeihar,

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CUnlllm,IBd OI'} HBVEI'SB

JUN 3|3 2016

 

 

JOHN WOOD
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tate Farm® works hard to offer you the best combination ot price, service, end protection The amount you pay for
omeowners insurance is determined by many factors such as the coverages you have, the type ofconstruction, the
re|ihood cf future claims, and information from consumer reports

‘our premium was influenced by iniormation from consumer reporter

lumber of non_-\,veaiti_er non-catastrophe claims iri the lsst_BO months‘ Number of accounts ever 30 days or more late ; Number
f consumer initiated inquiries for credit seeking purposes in the lest 04 monihs; A\rorage number ot months open for all

tccou nis .

'cu have the right to reg uest, no more than once annuatty, that yo_ur policy be r_e-rated using a current credit-based
rsursnce score. lite-rating could result in a lower rate, no change in rste, or a higher rate.

isaac refer to the enclosed insert ior additional details

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FE“3418 RENTERS POL|CY ENDOR$ENIENT (Arkansas)

DEFlNlTiONS
Dciiriitions 6. and ?. are replaced by the ictlovving:

B.

"rnotor vehicie", when used in Section lt of this pol-

icy, msans:

a. a land motor vehicle designed for travel on
public roads or subieci to motor vehicle regis-
tration;

t). a trailer or semi»trailer designed for travel on
public roads and subject to motor vehicle regis»
traticn;

c. a "recreaiionai vehicle" while off an insured lo-
cation. °'Rccraatlorial vehicio’° means a motor-
ized vehicle designed for recreation principally
off public roads that is owned cr leased by an
insured This includesl but is not limited to, a
motorized all terrain vehicle amphibious vehi-
cle, dune buggy. go-o¢rt, golf cart, snowmobilel
trailbilicl minibit<e and personal assislivc mo~
biiity device “Leased" does not include tempo-
rary renta|;

d. a "|ocomotive" while cit an insured location
"Lccomotive” means a seif~prope||ed vehicle ior
pulling or pushing freighter passenger cars on
tracks that is large enough lo carry a person
and is owned cr leased by an insured.
“Leased' does not include temporary rental;

e. a bulldozer, track loader, baclihoe, high-hoe.
trenchcr. grader, cranel self-propelled scraper,
excavatcr, pipe-layer, cherry pickcr, telehandler,
logging vehicle mining vehicle or road building
vehicle that is owned or leased by an insured
while oil an insured location "t.eased" does
not include temporary rsntal; and

i, any vehicle while being towed or pushed by or
carried on a vehicle included in a.. b.. c., d, ore.

The following are not motor vehicles'.

a. a boatl camp, home or utility trailer not being
towed cr pushed by or carried on a vehicle in-
cluded in a., b., c., d. or e. above;

b. a motorized land vehicle in dead storage on an
insured location ;

c. a motorized golf can while used for golling pur~
PDS€S;

d. a motorized vehicle or trailer designed to assist
the handicapped that is not designed for travel
on public roads cr subject to motor vehicle reg-
istration; or

i'.

e_ a commercially manufactured 2, 3 or 4 Wheeied
personal conveyance powered only by or as-
sisted by an unmodified motor or engine with a
manufacturers power rating cl no more than 1
horsepower and capable of a top speed ci no
more than 20 miles per hour.

“occurrsnce”, when used in_ Section il oi this policy,
means an accident including exposure to condi-
tions, which iirst results in:

a. bodily injury; or

b. property damage;

during the policy period. A|l bodily injury and
property damage resulting from one accident se»
rios of related accidents or from continuous and re-

peated exposure to the same general conditions is
considered to be one occurrence

Dclinitions ll, and 12. are added:
11. “fungus" means any type cr form of iiingi, including

mold or mildew, and any myccloxlns, spores,
scenic or byproducts produced cr released by iungi.

12. "Stale Fsrrn Companies’° means one or more of

the following

a. State Farrn Mutual Automobile |nswance
Ocinpany;

b. State F arm l-`ire and Casualty Company; and

c. subsidiaries or atiillates of either a. or b. above

SECTION i- COVERAGES
COVERAGE B -* PERSONAL PROPERTY
Spscial Limits of Liabilil:y is reptaccd by the iolloiving:

Spocial Limits of Liability. These limits do riot increase
the Ooverage B iiniil. The special limit for each of the
following cate ones is the total limit for each loss for all
properb,i in tha category:

H.

$2{}0 on money, coins and mcda|s, including any of
these that are a part of a collections bank notes, bul-
lioii, gold other than goldware, silver other than sit-
verware and ptaiiriurn;

$1,500 on property used or intended for use in a
businessl including merchandise held as samples
or for sale or for delivery alter sale, while on the
residence practicesl This coverage is limited to
$750 on such property carey from the residence
promises

Eiectroriic data processing system equipment or the
recording cr storage media used with that equip--
mont is not included under this coverage;

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$1,000 on securities, checksl cashiers checks,
travelers checks, money orders, gift certihcates, gift
cards, rechargeab|e debit cards, phone cards and
other negotiable instruments accounts, deeds, evi-
dences of debt, letters of credit, notes other than
bank notes, manuscripts, passports and tickets;

$1,500 on watercraft of all types and outboard nio-
tors, including their trailers, furnishings and equip-
ment;

$1,500 on trailers not used with watercraft;

$1,000 for loss by theft of iewelry, watches, fur
garments and garments trimmed with fur, precious
and semi~precious stones;

$2,500 on stamps trading cards and comic bor:ilrsl
including any of these that are a part of a collection;

$2,500 for loss by theft of lirearms;
$2,500 for loss by theft of silvelware and goldware;

$5,000 on electronic data processing system equip-
mentl including but not limited to mobile paschal
communication equipmentl global positioning sys-
tems. mobile personal electronic devices used for the
reproduction of sound, and standard media cr non-
media equipment for use with the above devices;

$5,000 on any orie article and $10,000 iri the aggre
gate for loss by theft ot any rug, carpet (e)<cept wall-
to~wall carpet), tapesliy, nall-hanging or other simi~
tar artic|e; and

$500 on commercially manufactured 2, 3 or 4
wheeled personal conveyances powered only by or
assisted by an unmodified motor or engine with a
manufacturers power rating of no more than t
horsepower and capable ot a top speed of no more
than 20 miles per hour. This does not include those
not licensed for use on public highways viinich are
designed for assisting the handicapped

item 2., Property Not Covered, is replaced by the following:
2. Property Not Covered. We do not cover:

a. articles separately described and specifically
insured in this or any other insurance;

b. animals, birds orlish;

c. any engine or motor-propelled vehicle or ma-
chine, including the parts, designed for move-
ment on land, except as provided in Speclal
Lirrlits of Llabl|ity, item l. title do cover those
not licensed for use on public highways which
are:

(1) used solely to service the insured loca»
tlon; or
(2) designed for assisting the handicapped

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devices or instruments for the recording or re-
production cf video or sound permanently at-
tached to an engine or motorpropelled vehicle
title do not cover tapes, discs, wires, videos or
other media that may be used with these de~
vices or instruments while in the vehicle;

aircraft and parts;

properly of roomers, boarders, tenants and
other residents not related to an insured title
do cover property of roomers, boarders and
other residents related to an insured;

property regularly rented or held for rental to
others by an insured This exclusion does not
apply to property of an insured in a sleeping
room rented to others by an insured;

property rented or held for rental to others
away from the residence premises;

any radio devices or transmittersl global posi~
tioning systems radar or laser detectors, an-
tennas and ali other similar equipment
permanently attached to an engine or motor-
prope|led vehicle;

books or records of accounts receivable ab-
stracts or other joumals, architectural or tech»
nical drawings card index systems cr other
records. Thls exclusion does not apply to any
recording or storage media for electronic data
processing We will cover the cost of blank
books, cards or other blank material pills the
cost of labor you incur for transcribing cr copy-
ing such records;

recording or storage media for electronic data
processing that cannot be replaced with other
of like kind and quality on the current retail
market;

purchased or created data, sound or video that
cannot be replaced with like kind and quality on
the current retail market which is transferred or
downloaded onto mobile communication equip-
ment, global positioning systems or electronic
devices used for the reproduction of video or
sound;

. contraband or any property used in the course

of illegal consumption, possession import, ex-
port or trade; or
outdoor hardsc e prop used for aesthetlc

purposes excep as provi ed in SECT|ON t -
ADDlTlOl~tAL COVERAGES.

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COVERAGE C -- LOSS OF l.iSE
item 3., Prohlblted Usel ls rcpiaced by the to|lou.-ing;

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3. Prohibited Use idle cover additional leing E)c-
pause and Fair Rental Value. for a continuous period
not to exceed two meeks beginning When a civil ad
ihority issues an order of evacuation or prohibits your

use of the residence premisesl provided thal:

a. direct physical damage occurs to any propertyl
other than covered property located on the res-
idence premises, arising from a cause of loss
that would be a Loss insured under this policy
if the damage had occurred to property on the

residence premises;

' b. the residence premises is within one mile of
property damaged by a cause of loss identified

in 3.a. above; and

c. the action of the civil authority is taken in re»

sponse to:

(l) dangerous physical conditions resulting
from the continuation of the cause of ioss

identined in 3.a. above;

(2) dangerous physical conditions resulting
from the damage caused by the cause of

lose identified in 3.a. above; or

(3) the need to gain free access to property
damaged by the cause of loss identified in

3.a. abovel

We do not cover loss or expense due to cancella-

tion of a lease or agreement
SECT|ON l HrlDDlTlOl~|.ltL COVERAGES
items 'l _, 3_ and 12. are replaced by the following:

l. Debris Removal. We will pay the reasonable ex~
penscs you incur in the removal of debris of cov-
ered properly damaged by a Loss insured This
expense is included in the limit applying to the

damaged property

When the amount payable for the property damage
plus the debris removal exceeds the limit for the
damaged property an additional 5% of that limit ls
available for debris removal expense This addi-
tional amount of insurance does not apply to Addi-
tiona| Coverage, item 3‘ Trees, Shrubs and

Landscaping.

3. Trees, Shrubs and Landscaping. Wc cover cuts

doom

a. trees, shru!Js, live or artificial plants, and lawns,

b. artilicia| grass; and

c. hardscape properly used for aesthetic purpos»

es not permanently affixed to realty;

12.

FEe¢no

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on the residence premisesl for direct loss caused

by the lollowing: Fire or lightning, Expiosion, Riot or

civil commotion, Aircrail, Vehicles (not owned or

operated by a resident otthe residence premises),
Vandalism or malicious mischiel or Thett.

The limit for this coveragel including the removal of
debris shall not exceed 10% of the amount shown
in the Declarations for COVERAGE B ~ PER~
SONAL PROPERTY. title will not pay more than
$?50 for any one outdoor tree, shrub, plant or hard-
scape ilem, including debris removal e)qaense. This
coverage may increase the limit otherwise applica-
ble. We do not cover property grown for business
purposes

Coi|apse. We insure only for direct physical loss to
covered property involving the sudden, entire col-
lapse of a building or any part of a building

Collapse means actually fallen down or fallen into
pieces it does not include settling cracking, shrinlr~
ing, bulging, expansion, sagging or bowing

The collapse must be directly and immediately
caused only by one or more oithe iollowing:

a. perils described in SECT|ON t - LOSSES ll\l-
SUREDl COVERAGE B ~ PERSONAL
PROPERTY. Thesc perils apply to covered
building and personal property for loss insured
by this Additional Covelage;

b. decay, deteriorationl insect damage or vennin
damage, all that are hidden from vievv, or a:

(1) connector;or
(2) structural member of a building;

unless the presence or such damage is known
to an insured prior to collapse;

c. weight of contentsl equipment animals or peo»
ple;

d. weight of lce, snow. sleet or rain Which collects
on a root, porch or deck; or

a use ot detective material cr methods in the con-
struction (includes remodeling or renovation) of
the building, if the collapse occurs during the
course cline construction of the building

Loss to an aiming, fence, patio, pavementl swim-
ming pooi, underground pipe, fluel drain, cesspool,
septic terrilll foundation retaining nall, bldkhead, pier,
whari, dock, trellis or antenna or its supporting struc-
ture is not included under items b., c.. d., and e, un»
less the loss is the direct and immediate cause of the
collapse of the building

This coverage does not increase the iimit applying
to the damaged property

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section l - Lossas rusuREo
covEnAor-: a ~ PERsonAL PRoPERTY

items 9.b.(3)(c), 12.d., 13.b. and 15. are replaced by the
following

9. b. (3) (c) cf securities checl<s, cashiers checks.

travelers checks, money orders gift
certificatesl gift cards rechargeable
debit cards, phone cards and other
negotiable instruments accounts,
deeds, evidences of debtl ietters ci
creditl notes other than bank notes,
manuscripts, passports and tickets;

caused by or resulting from continuous or re~
peated seepage or leakage of v.ater or steam
which occurs over a period of time and results in
deterioration corrosioo, rust, or net or dry rot.

caused by or resulting irom continuous or re-
peated seepage or leakage of water cr steam
which occurs over a period ct time and results in
deterioration corrosicn, rustl or wet or dry rot.

15. Sudden and accidental damage to electrical a:r~
pliances, devices, thures and wiring from an ln-
crease or decrease of artificially generated
electrical current live witt pay up to $1,500 under
this peril for each damaged item descrt)ed above.

SECT|ON | ~ LOSSES NOT |NSURED
item 1.c. is replaced by the following:
i. c. Water, meaning:

(i} floodl surface water, waves @ncluding tidal
wave, tsurramil and seiche) tides, tidal wa-
terl overflow of any body ci water, or spray
or surge from any of these, all whether
driven by wind or not;

water cr sewage from outside the resi-
dence premises plumbing system that en-
ters through sewers cr drains, or water
which enters into and overflows from with-
in a sump pump, sump pump weil or any
other system designed to remove subsur~
face water which is drained from the foun~
dalton area;

12. d.

13. b.

(2}

water below the surface of the ground, in-
cl uding water which exerts pressure on, or
seeps or leaks through a buildingl side-
wa|k, driveway loundation, swimming pool
or other structure; or

(3)

material carried or otherwise moved by
any of the water, as described in para-
graphs (1} through (3) above

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However, we do insure for any direct loss by

iire, explosion cr theft resulting from water,
provided the resulting loss is itself a Loss in-
sured.

The following item is added;
1. g. Fungus,lncluding:

(1) any loss of use or delay in rebuilding. rc-
pairing or replacing covered property, in~
ciuding any associated cost or expense

due to interference at the residence prem-
ises or location of the rebuildingl repair or

replacement ct that prcperty, by fungus;

any remediation of fungus, including the
cost or expense to:

(a] remove the fungus from covered

(2)

properly or to repair, restore or re~

place that property;

(b) tear out and replace any part ol the
_ building or other property as needed
to gain access to the tungus; or

(c) contain, treatl detoxily, neutralize or

dispose of or in any way respond to or

assess the elfects of the fungus;

(3) the cost of any testing or monitoring of air
or property to contirm the type, absence
presence or level of fungus, whether para
formed prior lo, during cr after removall
repair, restoration or replacement of cov-
ered properly

SECTION l- GONDiTlONS
The following is added to item 5., Appraisal:
These procedures are voluntary and ncn~l)inding.
item ?., Suit Agatn st Us, ls replaced by the following:
`r’. Suit Against Us. No action shall be brought unless

there has been compliance with the policy provi~
sions The action must he started within the period

cf time allotted by law.
The iollowing is added to item 9., Loss Payment:

We will not deny a covered claim due to the presence of

fu ngus on any property damaged by an otherwise cov-
ered loss.

SECTION ll - LlABll_lTY GOVERAGES
SECT|ON l| ~ ADD|TlONAL COVERAG ES
items 1.a., ‘i.c. and 1.d. are replaced by the following;
i. Claim Expenses. We pay;
a_ expenses we incur and costs taxed against an

insured in suits we defend Taxed costs do

not include attorney fees; -

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c. reasonable expenses an insured incurs at our
request This includes actual loss of earnings
(but not loss of other income} up to $200 per
day for aiding us in the investigation or defense
of claims or suits;

d. interest the insured is legally liable to pay on
damages payable under Ooverage L above be-
fore a judgmentl but only the interest on the
lesser of:

(1) that part of the damages we pay; or
(2) the Coverage L iimit; and

t SECT|DN il - CONDiTiONS
item 1 ., Lirnit of Liahility, is replaced by the ioliowing:

1.

Limit of Liability. The Coverage L limit is shown in
the Deolaraiions. This is the limit for ali damages
from each occurrence for the policy period in which
the bodily injury or properly damage hist occurs
regardless of the number of insu rodsI claims made
or persons injured- No additional limits or coverage
will be available for the occurrence under any addi-
tional policy periods while this policy remains in foroe.

The Coverage iii limit is shown in the Deciaraiions.
This is our limit for all medical expense for bodily
injury to one person as the result of one accident

SECT|ON iAND SECTION ll - GONDlTlONS

items 5.b.(3). b.(¢i) and c., Canceliation, are replaced by the

foilovving: .
b. (3) When this policy has been in effect for 60 days

or more, or at any time if it is a renewal with us
or at anniversary, we may cancel if there has
been:

(a) fraud or material misrepresentation made
by or with your knowledge in obtaining this
policy, continuing this policy, or in present-
ing a claim under this poiicy;

the occurrence of a material change in the
risic which substantially increases any haz~
ard insured against after this policy nies is-
sued;

violation of any local lire, health, safetyr
buildingl or construction regulation or ordi»
nances iniilh respect to any insured proper»
ty or the occupancy of the propertyl which
substantially increases any hazard insured
against under this policy; or

a material violation of a material provision
of this policy.

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(C)

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C.

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‘-Ne may cancel this policy by notifying you at
least 20 days before the date cancellation
takes effect
When this policy is cancelledl the premium for the
period from the date oi cancellation to the expiration
date will be refunded The return premium will be
pro rata.

The following is added to item 8., Subrogation:

We are entitled to a recovery only after the insured has
been fully compensated under the applicable coverage
in the policy. Nothing in this provision shall prevent us
from bringing an action against an alleged tortfeasor.

The following conditions are added:
11. Premium.

a. Uniess as otherwise provided by an alternative
payment plan in effect with the State Farm
Companies with respect to the premium for
this policy, the premium is due and payable
in hill on or before the first day of the policy
period shown in the most recently issued Dac¢
|arallons.

b. The renewal premium for this policy will be
based upon the rates in effect the coverages
carriedl the applicable limits, deductibies and
other elements that affect the premium appli-
cable at the time of renewal

c. 'The premium for this policy may vary based
upon:
(1) the purchase of other products or services
from the State Farm Companies;

(2) the purchase of products or services from
an organization that has entered into an
agreement or contract with the State Farm
Companies. The State Farm Compa~
nies do not warrant the merchantabilityl
illness, or quality of any product or service
offered or provided by that organization; or

an agreement concerning the insurance
provided by this policyl that the State
Farrn Companies has with an organiza~
lion of which you are a member, employ-
ee, subscriber, iicensee, or franchisee

d. Your purchase of this policy may ailow'.

(1) you to purchase or obtain certain coverages
coverage optionsl coverage deductib|es,
coverage limits, or coverage terms on other
products from the State Fann Companies,
subject to their appiicabie eligibility rules; or

(3)

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12.

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(2) the premium or price for other products or
services purchased by you, including non-
insurance products or services to vary.
Such other products or services must be
provided by the State Farm Companies
or by an organization that has entered into
an agreement or contract with the State
Farm Companios. The State Farm Com-
panles do not warrant the merchantability
fitness or quality of any product or service
offered or provided by that organization

Right to inspect title have the right but are not ob-
ligated to perform the followith

a. make inspections and surveys of the insured
location at any time;

b. provide you with reports on conditions we ilnd;
or

c. recommend changes

Any inspectionsl surveys, reports or recommends
tions relate only to insurability and the premiums to
be charged

We do not:

a. make safety inspections;

b. undertake to perform lhe duty of any person or
organization lo provide for the health or safety
of workers or the public;

c. warrant that conditions are safe or healthfu|; or

d. warrant that conditions comply with taws, regu-
lations, codes or standards

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This condition applies not only to us but also lo any
rating, advisory, rate service or similar organization
which makes insurance inspections surveysl re»
ports or recommendations on our behalfl

13. Joint and individual interests When there are
two or more named insureds each acts for all to
cancel or change the policy.

14. Change of Policy Address, Wa may change the
named insured's policy address as shown in the
Deciaratlons and in our records to the most recent
address provided to us by:

a. you; or
b. the United States Postal Service.
OPTIONAL POL|CY PROVIS|ONS
thion BP »- Business Proporty is replaced by the follow»
rng:
Option BP ~ Business Property. The COVERAGE B ~
PERSONAL PROPERTY, Spacia| Limits of Lial:~ility1
item b., for property used or intended for use in a busi-

ness, including merchandise held as samples or for sale
or for delivery after sale, is changed as follows

The $1,500 limit is replaced with the amount shown
in the Declarations for this option.
Option HC- Horne Computer is replaced by the following

Option HC - Home Computer. The CO\+'ERAGE B ~
PERSONAL PROPERTY, Speclal l.lm|ts of Liability,
item '., is increased to be the amount shown in the Deo-

larations for this opiion.
A|l other policy provisions apply

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FE~S'IOB.B BACK~UP OF SEWER DR DRA[N ENDORSEIV}ENT ($10,000 Limit}

The following is added to SECTION l -ADD|T|ONAL COV- For the purpose of this endorsement onlyI SECTION l -»
ERAGES: LOSSES lNSUFiED, item 12.c. is deleted lrorn the policy
SECTION lH LOSSES NOT lNSURED

item 2.c. Water is replaced by:

Elacl<-up of Sewer or Drain. lilie cover the dwelling
used as a_private residence on the residence premises

shown in the Deolarations and only the following per-
sonal property, while located in the dwelling:

a- clothes washers and dryers;

b food freezers and the food in them;
c. refrigerators;
d. ' ranges;

e. portable dishwashers; and
f. dellumidihers;

for direct physical loss caused by the back-up of water
or sewage, subject to the following;

a. The back~up must be directly and immediately
caused solely by water or sewage:

(l) from outside the residence premises plumb-
ing system that enters through a sewer or drain
located inside the interior of the dwelling; or

(2} which enters into and overilov.s from within a
sump pump, sump pump we|l, or any other sys-
tem located inside the interior of the dwelling
designed to remove subsurface water drained
from the foundation area

b. Coverage does not apply to:
(1) losses caused by your negligence;

(2) losses that occur or are in progress within the
first 5 days of the inception of this endorsement
unless coverage is continued as part or your
policy renewai; or

(3) any personal property other than a- through t.
listed above

c. 'i`he limit for this coverage shall not exceed $10,0(}0
in any one occurrence

The deductible for each loss under this coverage is the
amount shown in the Deo|arations under DEDUCTI»
BLES - SEGTtON l or $1,000, whichever is greater.

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2. c Water, meaning;

(1) floodl surface water, waves (inclucling tidal
wave, tsunami, and seiche) tides, tidal wa-
ter, overflow of any body ot water, or spray
or surge from any ot these, all whether
driven by wind or not, except as specifical~
ly provided in SECT|DN l - ADD|TlONAL
GO\FERAGES, Back~up of Sewer or
Drain;

(2) water or sewage from outside the rest-
dance premises plumbing system that en-
ters through sewers or drains, or water
which enters into and overilovvs from with-
in a sump pump, sump pump well or any
other system designed to remove subsur~
face water which is drained nom the foun-
dation area; except as speci|ica|ty
provided in SECTION | - ADDH'IONAL
BOYERAGES, Baol<-up of Sewer or

raln;

(3} water below the surface ot the ground, in-
cluding water which exerts pressure onl or
seeps or leaks through a building side»
wa]|<, driveway icundallon, swimming pool
or other structurel or

(4) material carried or otherwise moved by
any of the water, as described ln para-
graphs (l) through (3) above.

However, we do insure for any direct loss by
tire, explosion or theft resulting from water,
prows|ed the resulting loss is itself a Loss ln-
sure ,

For the purpose of this endorsement only, SECTION l ~
CONDlTiONS, Other insurance is replaced by:

Other insurance This coverage is excess over other
valid and collectible insurance

All other policy provisions apply.

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DECLARATIONS CONTINUED
The following is added:

When you request changes to this policy, or the infor-
mation or factors used to calculate the premium for this
policy changes during the polic period, we may adjust
the premium in accordance wit the change during the
policy period and you must pay any additional premium
due within the time we specify

SECT|ON |AND SECTION ll - COND[T|ONS
item 8. is replaced by the following:
8. Subrogation and Reimbursement.
a. Subrogsllon.

(1) Applicabte to SECT|ON l ~ YOUR PROP-
ERTY:

if any insured to or for whom we make
payment under this policy has rights to
recover damages from another, those
rights are transferred to us to the extent
of our paymentl That insured must do
everything necessary to secure our
rights and must do nothing after loss to
impair them But an insured may waive
in writing before a loss ali rights of re-
covery against 'any person

(2] Applicable to SECTION ll eYOUR LlAB|L-

lf any insured has rights to recover all or
part of any payment we have made under
this policy, those rights are transferred to
us. nn insured must do nothing after loss
to impair them. At our requestl an insured
will bring suitor transfer those rights to us
and help us enforce them.

We are entitled to a recovery only alter the in-
sured has been fully compensated under the
applicable coverage in the policy Nothing tn
this provision shal prevent us from bringing an
action against an alleged tortfeasor.

Subrogation does not apply under Section || to
l'vledical Payrnents to Others or Damage to
Property ot Olhers.

Reimbursement.

|f we make payment under this policy and any
insured to or for whom we make payment re-
covers ar has recovered from another person
or organization then the insured to or for
whom we make payment must:

(t) hold in trust for us the proceeds of any re
covery; and

(2) reimburse us lo the extent of our payment

lTY: All other policy provisions apply

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EARTHQUAKE AND VOLCANIC EXPLOS!ON ENDORSENIENT

SECT|ON l - LOSSES NOT INSUHED references lo earth-
quake and volcanic exptosion are deletedl Such insurance
as is afforded by Seotion l of the policy is extended to
insure for accidental direct physical loss caused by earth-
quake or tro|oanic explosion.

We do not insure under this endorsement for loss caused
by or resulting from any earthquake or volcanic explosion
that begins before the inception of this endorsement

But, il this endorsement replaces earthquake insurance
that excludes loss that occurs after the expiration of the
policy, we will pay for loss cr damage by earthquake, or
vo|canic explosion that occurs on or alter the inception of
this endorsemem, it the series ot earthquake shocks oruol-
canic explosions began within 72 hours prior to the incep-
tion of this insurancel

A|| earthquake shocks or volcanic explosions that occur

within any ?2-hour period will constitute a single loss. The
expiration ot this policy will not reduce the 72-hour period

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4. Deductible: The deductible tor loss caused by earthquake

or volcanic explosion is the amount determined by applying
the deductible percentage (%) shown in the Declarations,
separate|y, to each of the following:

a. the total COVERAGE A - DWELL!NG limit shown in the
Dec|aratione;

b. the total DWELL|NG EXTENS!ON limit shown in the
Declaretions; and

c. the total CDVEHAGE B - PEHSONAL PHOPEHTY limit
shown in the Declarations.

We will pay only that penton of the loss which exceeds the
separate deductibtes calculated above The minimum
deductible for each occurrence is $250.

All other policy provisions applY.

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553-1973 AR.I

The following notice is being provided in accordance with Fire Loss Reporttng l'-'tct of 2003.

 

QNIPORTANT NOTlCE REGARD|NG FlRE PROTECT|ON

 

Did you know that the firefighting ability of your Fire Departmcnt helps lower your insurance rates?

lt’s trust "t`he better Your firefighters are equipped and trainedo the better their access to water for fighting
fires, the length of the time it takes for them to arrive at a tirc, are a few of the many factors that have

an impact on your propertyf insurance rates I-Iclp jrour tire fighters help youl Thcy need Your support
financial, and otherwise Adcquatc funding is unportant-to improving the protection that may translate

to lower prcmiumsl

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553-295‘?.2.

This Notice ls Being Protrirled Pursuant To The Federal Fair Credit iieporting Act
find Any Applicaltle State l_aw

The amount you pay for homeowners insurance is influenced by many factors, including the coverach you havc, the type of
construction and the likelihood oft'uturc claims Please refer to your declarations page for information about factors that affect
your inemtum. State Farm° also considers information from consumer reports as a factor in determining your premium Thcse
reports arc obtained From I,cxisNeXis Risk Solutious, Inc.. a consumer reporting agency Le)cichxis only provides in{i)rmatiou,
does not make any decisions about your insurancel and is unable to provide any reasons for State Barrn`s clecision.

We encourage you to obtain a free copy of the reports used by contacting Lexichxis within 60 days of receiving this notice
P|easc submit your request for the consumer reports used to:

Lexichxis Consun:tcr Ccutcr

P. O. Bo}r 105108

Atlaotn, GA 30348

Phone: 1-800-456~6004

Intcruct Acldt'ess: mcensumerdisclosure.com

It`your credit history was adversely influenced by certain life cvents, such as, catastrophic illness or injury; death ofan immediate
F:uni]y member; temporary loss ofcmploymcnt', divorce or identity thcf`t, or military deployment overseas please contact your
State Earm agent requesting an additional review of your information Or, if the information to your consumer reports is
u)cotnpletc or inaccurate1 you have the right to dispute it with I.exisNexls. lfe correction is made as a result ot`your dispute,
please tell your agent so State Farm may reconsider its decision

Basccl on information in consumer reports, your premium is higher than it would have otherwise been it`Statc Farrn Fil'e and
Cosualty Company had not used consumer report itu`ormation. You arc receiving tlu: most competitive rate State Fanu can o l"t`er
you at this titne. lfyou would like the specific reasons for this action as related to loss history, please call or submit a written

request to your State I"arm agent within 90 days.

State Farrn Fire and Casualty Company
Bloomin_uton, lL

553-zone (C)

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EXH]BIT “C”
RE: JOSHUA SHARP

STANDARD~FORM RENTER’S POLI_CY NUMBER FP-7954

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&.Si‘aiel¢'*"alrmen

 

This policy is one of the broadest forms avall~
able today, and provides you with outstanding
value for your insurance dollars However, we
want to point out that every policy contains |imi~
tations and exciusions. Please read your policy
carefullyI especially "Losses Not lnsured" and all
exclusionsl

 

State Farm®
Renters
Policy

FP-7954

 

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RENTERS POLICY
DECLARATIONS CONT|NUED

We agree to provide the insurance desmond in this pcllcy:

1. based on your payment of premium for the coverages
you chose;

2. based on your compliance with all applicable provi-
sions of this policy; and

3. in reliance on your statements in these Deciarations.
You agree, by acceptance ct this poiicy, thet:

1. you will pay premiums when due and comply with the
provisions ot the policy;

2. the statements in these Dec|arations are your slate¢
monte and are truc;

3. we insure you on the basis your statements are true;
and

4. this policy contains all of the agreements between you
and us and any of our agents

Un|ess otherwise indicated in the applicationl you state
that during the three years preceding the time of your appli-
cation for this insurance your Loss Hislory and insurance
History are as follows:

1. Loss HIstory: you have not had any losses. insured or
not; and

2. insurance History; you have not had any insurer or
agency cancel or refuse lo issue or renew similar
insurance to you or any household member

DEF|N|T|ONS

"You" and "youl“' mean the "named insured" shown in the
Dac|araiions. \"our spouse is included it a resident of your
household “We". ""us and "oul" mean the Company shown
in the Dec|arations.

Cerlain words and phrases are dehned as io|!ows:

1. llbodily injury" means physical injury. sicknessl or dis»
ease to a pcrson. This includes required care, loss of
services and death resutting therefrom

Bodily injury does not inciude:

a. any of the following which are communicable dis-
ease, bacteria, parasite, virus. or other organism,
any of which are transmitted by any insured to any
other person;

b. the exposure to any such disease. bacteria, para-
site, virus, or other organism by any insured to any
other person; or

c. emotional distressl mental anguish, humuiation,
mental distress, mental injury or any similar injury
unless it arises out of actual physical injury to some
person.

2. "business" means a trade, profession or occr.lpalionl
This includes farming.

3. “Declarations" means the policy Declarations, any
amended Dectarations, the most recent renewal
notice or certificate, an Eyidenco ot insurance form or
any endorsement changing any of those

4. "insurod" means you and, ii residents of your house-
hold:

a. your relatiyes; and

b. any other person under the age of 21 who ls irl the
care of a person described above.

Uhdor Seclion lll 'insured“ also means:

c, with respect to animals or watercraft to which this
policy applies, the person or organization legally
responsible ior lhcm. l-|owever, the anhnal or
watercraft must be owned by you or a person
included in 4.a. or 4.b. A person or organization
using or having custody ot these animals or water-
craft in the course of a business, or without por-
mlssion of the owner, is not an insured; and

d. with respect to any vehicle to which this policy
applies. any person while engaged ln your empioy»
meat or the employment of a person included in
4.a. or 4.b.

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5. 'lnsured iocaticn” means:

a. the residence premises;

b. the part of any other premises other structures and
grounds used by you as a residence This induces
premises, structures and grounds you acquire
while this policy is in effect for your use as a rosi-
dence;

c. any prenises used by you in connection with the
premises included in 5.a. or 5.b.;

d. any part of a premises not owned by an insured
but where an insured is temporarily residing;

e. land owned by or rented to an insured on which a
one or two family dwelling is being constructed as a
residence for an insured;

i. individual or trinity cemetery plots or burial vaults
owned by an insured;

g. any part oi a premises occasionally rented to an
insured for other than business purposes

h. vacant land owned by or rented to an insured. This
does not include farm tand; and

i. farm land twilhoui buildings). rented or held for
rental to oihers. but nol to exceed a total of 500
acresl regardless ot the numbered locations

. "motor vehicle'l when used in Section ll ot this poticy.
means:

a. a motorized land vehicle designed for train on
public roads or subject to motor vehicle registra-
tion. A motorized land vehicle in dead storage on
an insured location is not a motor vehicie;

h. a trailer arsenal-trailer designed for travel on public
roads and subiect to motor vehicle registration A
boat, camp, home or utility boiler nol being towed
by or carried on a vehicle included in S.a. is not a
motor vehicle;

10.

c. a motorized golf carll snowmobiie. motorized bicy-
cle. motorized tricyc|e, a||~terrain vehicle cr any
other similar type equipment owned by en insured
and designed or used for recreational or utility pur-
poses off public roads, while off an insured loca-
tion. A motorized golf carl white used for gailng
purposes is not a motor vehicle; and

d. any vehicle while being towed by or carried on a
vehicle included in B.a., 6.b. or B.c.

."occurrence'. when used in Section it oi this policy,

means an accident including exposure to conditionsl
which results in:

a. bodily ln]ury; or
b. property damage;

during the policy period Repeated or continuous expo-
sure lo the same general conditions is considered to
be one occurrence

."property damage' means physical damage to or

destruction of tangible propeny, including loss of use ct
this property. Thelt or conversion oi properly by any
insured is not property damage.

.“residence employee' means an employee ct an

lnsured who perforan duties. including household or
domestic services. in connection with the maintenance
or use ot the residence premises This includes
ernployees who perform similar duties elsewhere for
you. This does not include employees while performing
duties in connection with the business ct an insured.

'resldence premises" rneans:

a. the one, h.vo. three or tour-family o‘\.vet|ingl other
structures and grounds; or

b. that part of any other building;

where you reside and which is shown in the Dsclara-
tions.

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SECT|ON l - COVERAGES

COVERAGE B - PERSONAL PROPERTY
1. Prcperly Covered. We cover personal property

owned or used by an insured while il is anywhere in
the worid. This inciudes structures not permanently
attached to or otherwise forming a part of the realty Al
your request, we will cover personal property owned
by others while the property is on the part of the resi-
dence premises occupied exclusively by an insured
At your request, we will also cover personal properly
owned by a guest or a residence employee, while the
property is ln any other residence occupied by an
insured.

We cover personal properly usually situated at an
insored's residence other titan the residence pre-
mises, ior up to $1,000 or ‘lD% ol the Coverage B
limit, whichever is greater. this limitation does not
apply lo personal properly in a newly acquired princi“
pal residence for the first 30 days after you start mov-
ing the property there lt the residence premises ts a
newly acquired principal residence, personal properly
in your immediate past principal residence is not sob-
iect to this limitation for the iirst 30 days alter the inoep~
lion of this policy.

Speclal leits of Liabllity. These limits do not
increase the Coverage El limii. The special limit for
each of the following categories is the total limit for
each loss for all property in that category:

a. $Zl}{i on money, coins and medais, including any of
these that are a part ot a collection bank notes,
bullion. gold other than goldware, silver other than
silverware and piatinum;

b. $1,000 on properly used or intended for use in a
businessl including merchandise held as samples
or lor sale or for delivery after salel white on the
residence premises This coverage is limited to
$250 on such properly away from the residence
premises

Eleclronic data processing system equipment or
the recording cr storage media used with that
equipment is not inotuded under this ooverage;

ct $1.00[1 on secorities, checks. cashier's checksl
traveler's checks money orders and other negotia-

ble instruments. accomts, deeds, evidences of
dobt, letters of credil, notes other than bank notes,
manuscriptsl passports and tickets;

d. $1,000 on watercraft et all types and outboard
motors, including their trailersl furnishings and
equipment

e. $i,l]liil on trailers not used with walercratl;

t. $1,{]00 for loss by iheit ofjewe|ry, watches, fur gar-
ments and garments trimmed with lur, precious and
sami-precious siones;

g. $2,500 on stamps, trading cards and comic bool<s,
including any ot these that are a part of a collection;

h. $2,500 for loss by their ot t'rrearms;
l. $2,500 for loss by theft of silverware and goldware;

j. $5,000 on electronic data processing system

equipment and the recording or storage media
used with that equipment There is no coverage for
said equipment or media while located away from
the residence premises except when said equip_
ment or media are removed from the residence
premises for the purpose of repair. servicing or
temporary use. An insured sludenl's equipment
and media are covered while at a residence away
from home; and

l<. $5,000 on any one article and $10,000 in the
aggregate for loss by theft of any reg, carpet
(except wall-towall carpet)l tapestry, wali-hanging
or other similar article.

2. Properiy Not Covered. We do not oover:

a. articles separately described and specitica|ly
insured in this or any other insurance;

b. animats. birds ornsh;

c. any engine or motor propelled vehicle or machine.
inciuding the parls, designed for movement on
land. We do cover those not licensed for use on
public highways which are:

{‘t} used solely to service the insured location; or
(2} designed for assisting the handicapped;

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d. devices or instnrments ior the recording or repro-
duction of sound permanently attached to an
engine or motor pmpe||ed vehic|e. We do not cover
tapes, wires, records or other medlurns that may be
used with these devices or instruments while in the
vehicle;

e. aircreit and parts;

t. properly ct roemers, boarders. tenants and other
residents not related to an insured. We do cover
property of roemers. boarders and other residents
related to an insured;

g. property regularly rented orhe|d for rental to others
by an lnsured. This exclusion does not apply to
pmperty ot an insured in a sleeping room rented to
others by an lnsured;

h. propedy rented or held for rental to others away
from the residence premises;

i. any citizens band radios. ratio telephones, radio
transceivers, radio transnitters, radar or laser
detectors. antennas and other similar equipment
permanently attached lo an engine or motor prc~
pelled vehic|e;

j, books of accountl abstracts. drawingsI card index

systems and other recordsl This exclusion does not
apply to any recording or storage media tor elec-
tronic data processingl We will cover lhe cost of
blank books, cards or other blank material plus the
cost cl labor you incur for transcribing or copying
such records; or

k. recording or storage media for electronic data pro-
cessing that cannot be replaced with other ot like
kind and quality on the cunent retail market.

COVERAGE C - LOSS OF USE
1. Additional Living Expense. i)'iihen a Loss insured

causes the residence premises to become uninhabit-

_ ablel we witt cover the necessary increase in cost you

incur to maintain your standard of living for up to 24
months. Our payment is iirnited to incurred costs for
the shortest of: {a) the time required to repair or
replace the premises; (b) the time required for your
household to settle elsewhere; or (c} 24 months This
coverage is not reduced by the expiration of this policy.

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2.

Fair Rentat Value. When a Loss insured causes that
part of the residence premises rented to others or
held for rental by you to become uninhabitabie, we wil
cover its fair rental value. Payment shall be for the
shortest time required to repair or replace the port ot
the premises rented or held ior rentall but not to
exceed 12 months This period of time is not limited by
expiration of this policy. Fair rental value shall not
include any expense that does not continue white that
part of the residence premises rented or held for
rental is uninhabitebie.

. Prohibited Use. Wiren a civil authority prohibits your

use of the residence premises because of direct
damage to a neighboring premises by a Loss |nsured.
we will cover any resutting Additional living Expense
and Fair Rentai Value. Coverage is for a period not
exceeding two weeks while use is prohibited

We do not cover loss or expense due to cancellation ot
a lease or agreement

SECTION l - ADDITIONAL CDVERAGES

The following Additiona| Coverages are subject to all the
termsl pl'oi.rlsionsl exclusions and conditions of this policy.

1.

w

Debris Rsmoval. We will pay the reasonable
expenses you incur in the removal of debris of covered
property damaged by a Loss lnsured. This expense ts
included in the limit applying to the damaged property.

When the amount payable for tile property damage
plus the debris removal exceeds the limit for the dam-
aged properiy. an additional 5% of that limit is available
for debris removal expense. This additional amount cl
insurance does not apply to 'Additionai Coverage. item
3` `lreesl Shrubs and Other Ptants.

. Temporary Repairs. ll damage is caused by a Loss

insuredl we will pay the reasonable and necessary
cost you incur for temporary repairs to covered prop~
erty to protect the property from further immediate
damage or ioss. This coverage does not increase the
limit applying to the property being repaired

.Trees, Shrubs and Other Plants. We cover outdoor

treesl shrui)s, plants or iawns, on the residence pre»
mises, for direct loss caused by the iot|owing: Fire or
lightning, Expioslon, Riot or civil commotion, Aircrait.
Vehic|es (not owned or operated by a resident ot the

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residence premises), Vandalism or malicious luis
chief orTheit.

The timit for this coverage, including the removal of
debrisl shall nut exceed 10% of the limit of liabi|uy
shown in the Dec|arations for COVERAGE B - PER-
SONAL PROPERTY. We will nol pay more than $5l}0
for any one outdoor treel shrub or plantl including
debris removal expense This coverage may increase
the limit otherwise applicable We do not cover prop-
erty grown for business purposes

. Fire Departmertt Servtce Charge. We will pay up to

5500 for your liability assumed by contract or agree~
merit for tire department charges This means charges
incurred when the tire department is called lo save or
protect covered property from a Loss insured No
deductible applies to this coverage This coverage may
increase the limit otherwise applicab|e.

.Preperty Remcved. Covered property, while being

removed from a premises endangered by a Loss
lnsured, is covered for any accidental direct physical
ioss. This coverage also applies to the property for up
to 30 days while removed We will also pay for reason-
able expenses incurred by you for the removal and
return ct the covered propedy. This coverage does not
increase the limit applying to the property being
removed

. Credit Card, Bank Fund Transfer tlardl Fcrgery and

Counterfeit Money.
a. We will pay up to $1.000 for:

(i}ihe legal obligation cf an insured to pay
because ct the theft or unauthorized use of
credit cards and bank fund transfer cards issued
to or registered in an insured's name. if an
insured has not complied with all terms and
conditions under which the cards are iss',uedl we
do not cover use by an lnsured or anyone else;

{2) loss to an insured caused by forgery or alter-
ation of any check or negotiable instrument; and

(3) loss to an insured through acceptance in-good
faith of counterfeit United States or Canadian
paper currency.

No deductible applies to this coveragel

We will not pay more than the limit stated above for
forgery or alteration committed by any one perscn.
This limit applies when the forgery or alteration
involves one or more instruments in the same ioss.

b. We do not cover loss arising out of business pur~
suits or dishonesty of an insured.

c. Defense:

[1) We may make any investigation and settle any
claim cr suit that we decide is appropriate Our
obligation to defend claims or suits ends when
the amount we pay for the loss equals our limit
of tiabitity.

(2) if claim is made or a suit is brought against an
lnsured for liability under the Credit Card or
Ban|r Fund Transfer Card coverage. we will pro-
vide a defense. This defense is at our expense
by counsel of our ohoico.

(3) We have the option to defend at our expense an
insured or an insured's bank against any suit
for lite enforcement of payment under the Forg-
ery coveragel

7. Pcwer interruption We cover accidental direct physi-

cal loss caused directly cr indirectly by a change of
temperature which results from power interruption that
takes place on the residence premises The power
interruption must be caused by a Loss insured occur-
ring on the residence premises The power lines off
the residence premises must remain energized This
coverage does not increase the limit applying to the
damaged property

B, Refrigerated Products, Coverage B is extended to

cover the contents of deep freeze cr refrigerated units
on the residence premises for loss due to power fail-
ure or mechanical failure |f mechanical failure or
power failure is known to youl all reasonable means
must be used to protect the property insured from fur-
ther damage or this coverage is void. Power failure or
mechanical failure shall not include:

a. removal ct a plug from an electrical outlet; or

b. turning off an electrical switch unless caused by a
Loss insured

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11.

12.

This coverage does not increase the limit applying to
tire damaged property

.Arson Reward. We will pay $1,000 for information

which leads to an arson conviction in connection with a
nrc loss to property covered by this policy. This cover»

`age may increase the limit otherwise applicablel How-

ever, the $1.{]0[} limit shall not be increased regardless
of the number or persons providing information

Bui|dlng Additions and Alterations, We cover under
Coverage B the building additionsl alterationsl fortures,
improvements cr installations made or acquired at
your expense, to that part of the residence premises
used exclusively by you, The limit for this coverage
shall not exceed 15% of the limit of liability shown in
the Dsclarations for COVERAGE B - PERSONAL
PROPERTY. This is not an additional amount ct insur-
ance_

liotcanlc Action. We cover direct physical loss to a
covered building or covered property contairled in a
building resulting imm the eruption of a volcano when
the loss is directly and immediately caused by:

a. volcaoic blast or airborne shock waves;
b. ash, dust cr particulate matter; or
c. iava tiow.

We will also pay for the removal of that ash, dust or
particulate matter which has caused direct physical
loss to a covered building or covered property con-
tained in a building

One or more volcanic eruptions that occur within a ?2~
hour period shall be considered one voicanic eruption.

This coverage does not increase the limit applying to
the damaged property.

Coiiapse. We insure only for direct physical loss to
covered property involving the sudden, entire collapse
of a building or any part of a building

13.

Ccllapse means actually fallen down cr fallen into
pleces. lt does not include settling, cracking, shrinking,
bulgingl rnrpansicnl sagging cr bowing.

The collapse must be directiy and immediately caused
only by one or more of the following:

a. perils described in SECT|ON l - LOSSES
lNSURED. COVERAGE B - PERSDNAL PROP-
ERTY. These perils apply to covered building and
personal property for loss insured by this Additional
Coverage;

b. hidden decay of a supporting or weight-bearing
structural member of the building;

c. hidden insect or vermin damage to a structural
member cf the building;

d. weight ct contentsl equipment animals or peop|e;

e. weight of ice. snow. sleetor rain which collects on a
roof; or

f. use of defective material or methods in the con-
struction (includes remodeling or renovation] of the
building, ii the collapse occurs during the course of
the construction of the building.

Loss to an awningl fence, patio, pavementl swimming
pooi, underground pipe. ilue, draln, cesspooi, septic
tank, foundation. retaining wal[. bulkheadl pier, wharf
or dock is not included under items b., c., d., e. and f.
unless the loss is the direct and immediate cause of
the collapse of the building

This coverage does not increase the limit applying to
the damaged property.

Locks. We will pay the reasonable expenses you incur
to re-key locks on exterior doors ct the dwelling located
on the residence premisesl when the keys to those
locks are a part of a covered theft loss.

No deductible applies to this coverage

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lNFLATlON COVERAGE

`t`he limit of liability shown in the Dactarations for Cover-
age B will be increased at the same rate as the increase in
the inflation Coverage index strewn in the Dec|arations.

To i'lnd the limit on a given date:

1. divide the index on that date by the index as el the
effective date ot this lnt|ation Coverage provision; then

2. multiply the resulting factor by tire limit of liability for
Coverage B.

The limit of liability wit not be reduced to less than the
amount shown in the Dec|aretions.

lf during the term of this policy the Coverage B limit of lia-
bility is changed at your requestl the effective date of this
lntiation Coyerage provision is changed to coincide with
the effective date of such change

SECT|ON l - LOSSES lNSURED

COVERAGE B - PERSONAL PROPERTY

We insure lor accidental direct physical loss to property
described in Govcrage B caused by the following peri|s,
except as provided in SECT|ON l - LOSSES NDT
INSURED:

1. Ftre or lightning.

2. thdstorm or hait. This peril does not include loss to
property contained in a building caused by rein, snow.
sleet, sand or dust. This limitation does not appty when
the direct force ot wind or trail damages the building
causing an opening in a roof or wal and the rain, snowl
steet, sand or dust enters through this openingl

This perti does not include loss to outdoor antennas
caused directly or indirectly by ice (other than haitil
snow or sleet, all whether driven by wind or not.

This peril includes loss to watercraft of all types and
their traiters, furnishingsl equipment1 and outboard
motors. only while inside a tu|iy enclosed building

3. Explosion.
4. Riot or ctin commotion.

5. Aircralt. inciuding sell-propelled missiles and space-
craft

6. Vehic|es, meaning impact by a vehicle.

i'. Smoire. meaning sudden and accidental damage from
smoke.

This peril does not include loss caused by smoke from
agricultural smudging or industrial operationsl

B. Vandalism or malicious mischief, meaning only will-
tul and malicious damage to or destruction of property

9. Thel’c, including attempted theft end loss of properly
from a known location when it ls probable that the
property has been stolen.

This pen'i does not inctude:

a. loss ol a precious or semi~precious stone from its
setting;

b. ioss caused by thett:

{t) committed by an insured or by any other per~
son regularly residing on the insured location.
Property of a student who is an insured is cov-
ered while located at a residence away from
home, if the theft is committed by a person who
is not an insured;

{2) in or to a dwelling under construction or of mate-
riats and supplies for use in the construction
until the dwelling is completed and occupied; or

(3) from the part of a residence premises rented
to others:

(a} caused by a tarrantl members of the tenants
househo|d, or the tenant's employees;

{b}of money. bank notes, bldtion. gold, gold-
ware. silver, silverware, pemenvare, plati-
nom, coins and meda|s;

(c} of securities, checks, cashiet‘s checks, trav-
eler's checksr money orders and other nego-
tiable instruments accountsl deedsI
evidences of debt. letters of creditl notes
other than bank notes, manuscripts, pass~
puris, tickets and slamps; or

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(d) of jewelry, watctres, fur garments and gar-
ments trimmed with fur. precious and semi-
precious stones;

c. loss caused by theft that occurs away from the res-
idence premises of:

(‘i) property while at any other residence owned,
rented to, or occupied by an insuredl except
while an lnsurccl ls temporarily residing there
Property cia student who is an insured is cov-
ered white at a residence away from home;

[2) watercraft ot all lypes, including their furnish
ings, equipment and outboard motors; or

(3} trailers and campers designed to be patted by or
carried on a vehicie.

if the residence premises is a newly acquired
principal residenoe, property in the immediate past
principal residence strait not be considered prop-
erty away from the residence premises for the tirst
30 days atter the inception of this pciicy.

10. Fatling objects This peril does not include loss to

property contained in a building unless the roof or an
exterior wall of the building is lirst damaged by a falling
object Darnage to the falling object itself is not
included

11. Welght of ice, snow or sieet which causes damage

to property contained in a building

12. Sudden and accidental discharge or overflow cf

water or steam from within a plumbing, heating. air
conditioning or automatic fire protective sprinkler sys-
tem, or from within a household appliancel

This petit does not include loss:

a. to tire system or appliance from which the water or
steam escaped;

b. caused by or resulting from freezing;

c. caused by or resulting from water or sewage irorn
outside the residence premises plumbing system
that enters through sewers or drains. or water
which enters into and overtlows from within a sump
pump, sump pump well or any other system
designed to remove subsurface water which is

drained from fha foundation area; or

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13.

14.

15.

16.

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. caused by or resulting from continuous or repeated
seepage or leakage of sister or steam which occurs
over a period of time and results in deterioration
ccnosion, rust, moid, or wet cr dry rot

Sudden and accidental tearing asunder, cracking,
burning or bulging of a steam or hot water heating
system, an air conditioning or automatic tire protective
sprinkler systcrn. or an appliance for heating water.

This peril does not include loss:

a. caused by or resulting from ireezing;'or

b. caused by or resulting from continuous or repeated
seepage or leakage of water or steam which occurs
over a period of time and results in deterioration,

corrosion. rust, mo|d. or wet or dry rot.

Freezing of a plumbingl healing, air conditioning or
automatic ore protective sprinkler system, or ot a
houseth appliance.

This peril does not iiolude loss on the residence pre-
mises while the dweiling is vacantl unoccupied or
being constructedl unless you have used reasonable
care to:

a. maintain health the building; or

b. shut ad the water supply and drain the system and
appliances of water.

Sudden and accidental damage to electrical appli-
ances, devices. li)ttures and wiring from an increase or
decrease of artiiicialiy generated electrical currentl We
witt pay up to $1,0|]0 under this peril for each damaged
item described above.

Breakage of glass or safety glazing material which
is part of a building, storm door or storm window, and is
covered under SECTION l - ADlJiTiDNAL COVER-
AGES, Building Addilions and A|terations.

This peril does not include loss orr the residence pre-
mises if the residence has been vacant for more than
30 consecutive days immediately before the toss.

Breairege of glass, meaning damage to personal
property caused by breakage of glass which is a part
ct a buiiding on the residence premises There is no
coverage for loss or damage to the glass.

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SECT|ON | - LOSSES NOT tNSURED

1. We do not insure under any coverage for any loss lioweverl we do insure for any direct loss by ltre.

which would not have occurred in the absence of one
or more of the fot|cnving excluded events. We do not
insure for such loss regardless of: (a) the cause of the
excluded event; or (b) other__causes_oi the toss; cr [c)
whether other causes acted concurrentty or in any
sequence with the excluded event to produce the |oss;
or {d) whether the event occurs suddenly or gradual|y,
involves isolated or widespread damagel arises from
natural or external torces. or occurs as a result cl any
combination oilhese:

a. Ordinance or Lawl meaning enforcement or any
ordinance or law regulating the constnrction, repair
cr demolition cf a buildier or other structurel

b. Earth Mevement, meaning the sinking1 risingl
shirting, expanding or contracting or earth. all
whether combined with water or not. Earth move-
ment includes but is not limited to earthquake,
iands|ide. mud|iow. muds|ide, sinkhoie. subsid-
ence, erosion or movement resulting from
improper compaction. site selection or any other
external forces. Earth movement also includes
volcanic explosion or lava flow. except as specifi-
cally provided in SECT|ON t - ADDthONAL
CDVERAGES, ii'olcanlc Action.

However. we do insure ror any direct loss by we
resulting irom earth movementI provided the result-
ing iire loss is itse|fa Loss insured

c. Water Damage, meaning:

(1} llood, surface water, waves, tidal walcr. tsunamil
seiche. overtinwora body cfwater, or spray from
any ct these, eli whether driven by wind or not;

(2) water or sewage from outside the residence
premises plumbing system that enters through
sewers or drains. or water which enters into and
overliows from within a sump pump, srmrp pump
weil or any other system designed to remove
subsurface water which is drained from the
foundation area; or

(3) water below the surface of the groundl including
water which exerts pressure on, or seeps or
leaks through a building, sidewrik, driveway,
loundation, swimming pool or other structure

explosion or iheit resulting from water damage,
provided the resulting loss is itself a Loss Insured.

d. irleglectl meaning neglect of the insured to use all
reasonable means to save and preserve properly
at and alter the line of a ioss, or when property is
endangered

e. War, including any undeclared warl civil war, insur-
rection, rebellion, revolution, warlike act by a mili-
tary force or military personnei, destruction or
seizure or use for a military purpose, and including
any consequence of any of ihese. Discharge of a
nuclear weapun shall be deemed a wariike act
even if accidental

f, Nuclear Hazard, meaning any nuclear reaction,
radiationl or radioactive contamination, all whether
controlled or uncontrolled or however caused, or
any consequence of any of tl'lese. Loss caused by
the nuclear hazard shall not be considered lose
caused by lire. explosion or smoke.

Howover, we do insure for any direct loss by tire
resulting from the nuclear hazard. provided the
resulan fire loss is itsella Loss lrrsured.

. We do not |nsure under any coverage for any loss con~

sisting ot one or more of the items below. Furfher, we
do not insure for loss described in paragraph i. imme-
diately above regardless otwhether one or more of the
loi|owing: {a} directly cr indirectly cause, contribute to
or aggravate the |oss; or (b) occur before, at the same
iime, or after the loss or any other cause of the ioss:

a. conductl act, failure to act, or decision or any per-
son, group, organization or governmental body
whether intentionai, wrongiu|, negligent or without
tauli;

b. defect, weakness inadequacy fault or unsound
ness in:

(1] planning zoning, development surveying. site
ing;

(2] design specilicationsl workmanship. construe
tion, grading, compaction;

[3) materials used in construction or repair; or

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(4} maintenanoe:

ct any property (inoluding land, structuresl or
improvements cl any kind] whether on or cit the
residence premises; or

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c. weather conditions

However, we do insure tor any resulting loss from
items a., b. and c. unless the resulting loss is ltselt a
Loss Not insured by this Seclion.

SECTION l - LOSS SETTLEMENT

Only the Loss Settlement provision shown in the Declara-
fions applies We will setlle covered property losses
according to the following.

COVERAGE B ~ PERSONAL PROPERTY
1. B1 - Limited Rep|acement Cost Loss Settlement.

a.

We will pay the cost to repair or replace property
covered under SECT|ON l - COVERAGES, COV-
ERAGE B - PERSONAL PROPERTY, except for
property listed in item b. betow, subject to the lol-
lowing:

[1) neill repairer replacement is coinp|eted, we will
pay only the cost to repairer replace less deple-
ciaticn;

(2) after repairer rep%acement is completed we will
pay the difference between the cost to repair cr
replace less depreciation and the cost you have
actually and necessarily spent to repair or
replace the property; and

(3} it property is not repaired or replaced within two
years after the date of loss, we will pay only the
cost to repair or replace less depreciation

. We will pay market value at the time of ms for:

(1) antiques, line arls, paintings,` statuary and simi~
lar articles which by their inherent nature cannot
be replaced with new articles;

{2) articles whose age or history contribute sub-
stantially le their value including, but not limited
to, memorabi|ia, souvenirs and collectors items;
and

(3) property not useful for its intended purpose

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HoweverI we will nol pay an amount exceeding the
smallest of the following for items a. end b. above:

{1} our cost to replace at the time ofloss;
(2) the tull cost of repair;
(3] any special limit of liability described in the pol-
rcy; or
(4) any applicable Coverage B limit of liability.
2. B2 » Deprecialed Loss Setflement,

a. We will pay the cost to repair er replace less depre-
ciation at the time of loss for properly covered
under SECTION l - COVERAGES, COVERAGE B
- PERSONAL PROPERTY, except for property
listed in item b. below.

b. We will pay market value at the time cl loss ior:

(1} antiques, line arts, paintings, staluary and simi-
lar articles which by their inherent nance cannot
be replaced with new arlictes;

[2} articles whose age or history contribute sub-
stantially to their value includingl but not limited
to, memorabllia, souvenirs and collectors ilems;
and

(3} property not useful for its intended purpose

However, we will not pay an amount exceeding the
smallest of thc following for items a. and b. above:

(1) our cost to replace at the time of loss;

{2) the tull cost ci repair;

(3} any special limit cl liabilily described in the pcl~
lcy; or

(4] any applicable Coverage B limit of liabilily.

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SECTION l - CONDITIONS

1. insurable interest and Limit of Liabiiity, F_ven ii

more than one person has an insurable interest fn the
property covered, we shall not be liab|e:

a. to the insured for an amount greater than the
lnsured's interest; or

b. for more than the applicable limit of liability

. Your Duties ritter Loss, Atter a loss to which this

insurance may app|y, you shall see that the following
dulles are performed:

a. give immediate notice to us or our agenl. Nso
notify the police if the loss is caused by thstL A|so
notify the credit card company or bank it the loss
involves a credit card or bank fund transfer card;

b. protect the property from further damage or lossl
make reasonable and necessary temporary repairs
required to protect the property, keep an accurate
record of repair expenditures

c. prepare an inventory of damaged or stolen per-
sonal properiy. Sircw in detail the quantity. descrip-
tion, age, replacement cost and amount ct icss.
Attach tuttle inventory all bil|s, receipts and related
documents that substantiate the figures in the
hventory;

d. as otten as we reasonabty require:
(1) exhibit the damaged property;

(2} provide us with records and documents we
request and permit us to make copies;

[3} submit to and subscribe while not in the pres-
ence of any other insured:

{a} statements; and
(b) examinations under oalh; and

{4} produce employeesl members of the insureds
household or others for examination under oath
to the extent ills within the insured's power to
do so: and

e. submit to us, within 60 days alter the lossI your
signed. sworn proctor loss which sets fcrlh, to the
best ct your knowledge and belief:

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(1) the time and cause of loss;

(2) iiteresi of the insured and ali others in the
property involved and all encumbrances on the

pressure
{3} other insurance which may cover the loss;

(4) changes h title or occupancy of the property
during the term of this policy;

{5}speclhcaiions ct any damaged building and
detailed estimates for repair of the damage;

(6) an inventory of damaged cr stolen personal
property deceived in 2.0.;

('r') receipts for additional living expenses incurred
and records supporting the fair rental vatue toss;
and

(B) evidence or aihdavit supporting a claim under
the Credit Card, Bank Fund Transter Cardl
Forgery and Counterieit Mcney ooverage, stat-
ing the amount and cause of ioss.

3. Loss to a Pair or Sei. in case ct loss to a pair or sel.

we may etect tc:

a. repair or replace any part to restore the pair or set
to its value before the ioss; or

b. pay the difference between the depreciated value
ot the property before and after the |oss.

.Glass Rop|acement, Loss tor damage to glass

caused by a Loss insured shall be settled on the basis
of replacement with safety glazing materials when
required by ordinance or taw.

. Appraisal. lfyou and we fail to agree on the amount of

loss, either one can demand that the arncuni ct the
loss be set by appraisal lt either makes a written
demand for appraisa|, each shall select a competent
disinterested appraiser. Each shall notify the other ot
the appraiser's identity within 20 days oi receipt of the
written demand The two appraisers shall then select a
competeni, impartial umpire. lt the have appraisers are
unable to agree upon an umpire within 15 days, you or
we can ask a judge ot a court ct record in the state
where the residence premises is located to seiect an
umpire. The appraisers shall then set the amount of

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the ioss. if the appraisers submit a written report of an
agreement to us, tire amount agreed upon shatl be the
amount of the loss. if the appraisers fail to agree within
a reasonable time, they shall submit their differences
to the umpire, Wrilten agreement signed by any two cf
these three shall set the amount cf the loss, Each
appraiser shall be paid by the party selecting that
appraiser. Other expenses of the appraisal and the
compensation cf the umpire shall be paid equally by
you and us.

6. Other insurance if a loss covered by this policy is
also covered by other insurancel we will pay only our
share of the loss. Our share is the proportion of the
loss that the appiiceb|e limit under this poticy bears to
the total amount of insurance covering the toss.

7. Suit Against Us. No action shall be broth unless
there has been compliance with the policy provisions
The action must be started within one year after the
date cf loss or damage

8. Our Oplion. We may repairer replace any part of the
property damaged or stolen with similar properly Any
properly we pay for cr replace becomes our property

9. Loss Payment. We will adjust all losses with ycu. We
will pay you unless some other person is named in the
policy or is legally entitled to receive payment Loss will
be payable 60 days alter we receive your proof of loss
and:

a. reach agreement with you;
b. there is an entry of a final judgment or
c. there is a filing otan appraisal award with us.

10. Abandonment of Properly. title need not accept any
property abandoned by an insured

it. No Benelit to Bailee, We witt not recognize an assign-
ment or grant coverage for tito benefit of a person or
organization holding, storing or transpoan property
for a fee. This applies regardtess of any other provision
of this policy.

12. lntentional Acts. if you cr any person insured under
this policy causes or procures a loss to property cov-
ered under this policy for the purpose of obtaining
insurance benefitsl then this policy is void and we wilt
not pay you or any other insured for this loss.

SECT|ON ll - LiABlLiTY COVERAGES

COVERAGE L - PERSONAL LiABlLlTY

lt a claim is made or a suit is brought against an insured
for damages because of bodily injury or property dam-
age lo which this coveer applies. caused by an occur-
rence. we wi|l:

1. pay up to our limit of liability for the damages for which
the Insured is iegaity iiab|e; and

2. provide a defense at our expense by counsel of our
ohoice. We may make any investigation and settle any
claim or suit that we decide is appropriate Our obliga-
tion to defend any claim or suit ends when the amount
we pay for damages, to effect settlement or satisfy a
judgment resulting from the occurrence, equals our
limit of liabilityl

COVERAGE fit - l'l|EDtCAL PA¥MENTS TO OTHERS

We will pay the necessary medical expenses incurred or
medically ascertained within three years from the date ot
an accident causing bodily injury idedical expenses

means reasonable charges for medicall surgical, x-ray.
denta|, ambulance, hospitai, professional nursingl pros~
thetic devices and amaral servicesl This coverage appties
only:
1. to a person on the insured location with the permis-
sion of an insured;
2. to a person off the insured location. if the bodily
injury:
a. arises cut of a condition on the insured location or
the ways immediately adjoining;
b. is caused by the activities of an insured;

c. is caused by a residence employee in the course
of the residence employee's employment by an
insurod; or

dr is caused by an animal owned by or in the care of
an lnsured; or

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3. Damage to Property ot Others.

a. We will pay for property damage to property cf
others caused try an insured.

b. We will not pay more than the smallest of the tol-
lowing amounted

(1] replacement cost at the time cf loss;

3. to a residence employee it the occurrence causing
bodily injury occurs oif the insured location and
arises cut ot or in the course of the residence
employee's employment by an insured

SECT|ON il - ADDIT|ONAL COVERAGES
Wa cover the following in addition to the limits oiliabilily:

1' claim Exp°“s°s' We pain (2} full cost of repair; cr

a. expenses we incur and costs taxed against an
insured ir'r suits we defend;

b. premiums on bonds required irr suits we defendl
but not for bond amounts greater than the Cover»
age L |imit. We are not obligated to apply for or fur-
nish any bond;

c. reasonable expenses an insured incurs at our
request This includes actual loss cl earnings (but
notices of other income} up to $100 per day for eid~
ing us in the investigation or defense ot claims or
suits;

d. prejudgment interest awarded against the insured
on that part ci the judgment we pay; and

e. interest orr the entire judgment which accrues after
entry of the judgment and before we pay or tender,
or deposit in court that part of the judgment which
does not exceed the limit of iabilily that appiies.

. First Aid Expenses. We will pay expenses for Erst aid
to others incurred by en insured ior bodily injury corr-
ered under this policy We wi|i not pay for nrst aid to
you or any other insured

SECT|ON ll
. Correragc L and Coverage in do not appiy to:

a. bodily injury or property damage:
(1}which is either expected cr intended by the

{3} $500 in any one occurrence
c. We will not pay for property damage:
(1) ii insurance is otherwise provided trr this policy;

{2} caused intentionally by an insured who is 13
years oiage or oider;

(3) to properlyl other than a rented golf cart, owned
by or rented to an insured, s tenant ot an
insuredl cr a resident in your household; or

[4) arising out of:
(a) business pursuits;
(b) any actor omission in connection with a pre-

misss an insured owns, rents or contrcis,
other than the lnsured location; or

(c} the ownership, maintenance, or use cf a
motor vehthe, aircrait, or watercraft, includ-
ing airboat, air cushion, personal watercrait,
sail board or similar type watercratt.

- EXCLUS|ONS

b. bodily injury or property damage arising out of
business pursuits of any insured or the rental or
holding for rental ot any part of any premises by
any insured. This exclusion does nci app|y:

insured; m (1] to activities Which are ordinarily incident to non-
(2) which is the result crwii|iu| and malicious acts of business pursuits;
the insured;

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[2) with respect to Coverage L to the occasional or
part-time business pursuits of en insured who
is under 19 years ofage;

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(3}10 the rental or holding for rental of a residence
oiyours:

{a) on an occasional basis for the exclusive use
as a residence;

(b) in part, unless intended icr use as a resi-
dence by more than two roomers or board
ers;or

{c) in part, as an oifroe. schoot, studio or private
93“‘=196:

(4] when the dwelling on the residence premises
is a iwo, three or tour-family dwelling and you
occupy one part and rent or hold for rental the
other part; or

(5) to tenn land {wltbout buildings). rented or held
for rental to others, but not to exceed a total of
500 acres, regardless of the number of loca-
ticns;

c. bodily injury or property damage arising out of
the rendering or failing to render professional serfw
vices;

d. bodily injury or property damage arising out or
any premises currently owned or rented to any
insured which is not an insured locaticn. This
exclusion does not apply to bodily injury to a resi-
dence employee arising out stand in the course of
the residence employee‘s employment by an
insured;

e. bodHy injury or property damage arising out of
the ownership. maintenance, use, loading or
unloading oi:

{1) an aircrati;

(2)a motor vehicle owned or operated by or
rented orto:med to any insuredl cr

(3} a watercraft

(a} owned by or rented to any insured ii it has
inboard or inboard-ootdrive motor power of
more than 50 horsepower;

(b} owned by or rented to any insured if it is a
sailing vessel, with or without auxiliary
POWer. 26 feet or more in overall lengih;

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(c) powered by one or more outboard motors
with more than 25 total horsepower owned
by any insured;

[d) designated as an airbcal, air cushion, or
similar type oi crait; or

tel owned by any insured which is a personal
watercraft using a water jet pump powered
by an internal combustion engine as the pri-
mary source oi proputsion.

This exclusion does not apply to bodily injury to a
residence employee arising out of and in the
course of the residence empioyee's employment
by ao insured Exc|uston e.(3) does not apply while
the watercraft is on the residence premises;

. bodily injury or proper1y damage arising out of:

(i) the entrustment by any insured to any person;
(2} the supervision by any insured of any person;

{3) any liability statutorily imposed on any insured;
or

(4) any liability assumed through an unwritten or
written agreement by any insured;

with regard to the ownershtp, maintenance or use
of any aircralt, watercraft, or motor vehicle which
is not covered under Section || of this policy;

. bodily injury or property damage ceased directly

or indirectly by war, including undeclared war. or
any warlike act including destruction or seizure or
use for a military purpose. or any consequence of
these. Dlscharge ot a nuclear weapon shall be
deemed a wariike act even ii accidentat;

. bodily injury to you or any insured within the

clearing ot part a. or b. of the definition ot insured

This exclusion also applies to any claim made or
suit brought against you or any insured to share
damages with or repay someone else who may be
obligated to pay damages because of the bodily
injury sustained by you or any insured within the
meaning of parta. or h. of the dennition of insured;

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any claim made or suit brought against any
insured by:

[t) any person lwho is in the care of any insured
because of chitd care services provided by or at
the direction of:

(a} any tnsured;
(b) any employee of any insured; or

(c) any other person actually or apparently act-
ing on behalf ct any insured; or

(2} any person who makes a claim because of
bodily injury to any person who is in the care
oi any insured because of child care services
provided by or at the direction of:

(a} any insured;
(b) any employee of any insured; or

(c) any other person actua|ty or apparently act-
ing on behalf of any insured

This exclusion does not apply to the occasional
child care services provided by any insured, or to
the part-time child care services provided by any
insured who is under 19 years ofage; or

beauty injury or property damage arising out of
an insureds participation inl or preparation or
practice for any prearranged or organized race.
speed or demolition contest or similar competition
involving a motorized land vehicle or motorized
watercraft This exclusion does not apply to a sail-
ing vessel tess than 26 feet in overall length with or
without auxitiary power

2. Coverage L does not apply to:

s. liability

(t) for your share of any loss assessment charged
against all members stan association of prop-
erly owners; or

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(2) assumed under any unwritten contract or agree-
ment, or by contract or agreement in connection
with a business of the lnsured;

. property damage to property currently owned by

any lrrsured;

. property damage to property rented lo, occupied

or used by or in the care of any insured This
exclusion does not apply to property damage
caused by hre, smoke or explosion;

. bodily injury lo a person eligible to receive any

benefits required to be provided or voluntarily pro-
vided by an insured under a workers‘ compensa
tion, non-occupational disabiity, or occupational
disease law;

. bodily injury or property damage tor which an

insured under this policy is also an insured undera
nuclear energy liability policy or would be an
insured but for its termination upon exhaustion of
its limit of liability A nuclear energy iiabitity policy is
a policy issued by Nuclear Energy Liability insur-
ance Association, Mutua| Atomic Energy Liabiiity
Underwriters‘ btuc|ear lnsurance Association ot
Canada, or any of their successors

. Coverage M does not apply to bodily injury:

to a residence employee ir it occurs off the
insured location and does not arise out ot cr in the
course of the residence emptoyee's employment
by an insured;

. to a person eligible to receive any beneiits required

to be provided or voluntarily provided under any
workers' compensation, non-occupational disability
or occupational disease law;

. from nuctear reaction, radiation or radioactive con-

tamination, all whether controlled or uncontrolled or
however caused, or any consequence of any of
these;

. tc a person other than a residence employee of

an insured, regularity residing on any part of the
insured location

retreat

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SECTION ll - CONDlTlONS

i. Limit of Liability. The Coverage L limit is shown in the

Declarations. This is our limit for all damages from
each occurrence regardless ot the number ct
insureds. claims made or persons iniured.

The Coverage M limit is shown in the Declaralions.
This is our limit for all medical expense for bodily
injury to one person as the result of one accident.

.Severability cf |nsurance. This insurance applies

separately to each insured. This condition shall not
increase our limit of liability for any one occurrence

. Duties Atter Loss. |n case ct an accident or occur~

rence, the insured shall perform the following duties
that app|y. You shall cooperate with us in seeing that
these duties are performed:

a. give written notice lo us or our agent as soon as
practicable which sets iorth:
{1] the identity of this policy and insured;

(2) reasonably available information on the time,
place and circumstances of the accident or
cccurrence; and

(3} names and addresses of any claimants and
available witnesses;

b. immediately forward to us every nolice, demand,
summons or other process relating to the accident
or occurrence;

c. at our requestl assist in:
(i) making settlement

(2) the enforcement cf any right of contribution cr
indemnity against a person or organization who
may be liable to an insured;

(3) the conduct cf suits and attend hearings and tri-
als; and

(4) serxiring and giving evidence and obtaining the
attendance of witnesses;

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d, under the coverage - Damage to Property of Oth-
ers, exhibit the damaged property if within the
insureds controt; and

e, the insured shall notl except at the insured's own
cost, voluntarily make payments assume obliga-
tions or incur expenses This does not apply to
expense for iirsl aid to others at the time ot the
bodily injury

4. Duties of an injured Person - Coverage Ilil. The
injured person, orl when appropriate, someone acting
on behalfoflhat person. shall:

a. give us written proof ol claim, under oath il
required. as soon as practicable;

b. execute authorization to allow us to obtain copies
of medical reports and records; and

c. submit to physical examination by a physician
selected by us when and as often as we reasonably
require

5. Payrnent of Claim - Coverage M. Payment under this
coverage is nolan admission of liability by an insured
or us.

6. Suit Against Us. bic action shall be brought against us
unless there has been compliance with the policy pro-
visions.

No one shall have the right to join us as a party to an
action against an |nsured. Furlherl no action with

respect to Ccverage L shall be brought against us until
the obligation of the lnsured has been determined by

final judgment or agreement signed by us.

7. Bankruptcy cf an lnsured. Bankruptcy or insolvency
cf an insured shall not relieve us ct our obligation
under this policy

8. Othor insurance - Coverago L. This insurance is
excess over any other valid and collectible insurance
except insurance written specihca|ly to cover as
excess over the limits of liability that apply in this pol-
icy.

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SECTlON l AND SECTION ll - COND|T|ONS

. Policy Period. This policy applies only to loss under

Secticn l or bodily injury or property damage under
Section ll which occurs during the period this policy is
in elfect.

. Concealmant or Fraud. This policy is void as to you

and any other insured, lf you or any other insured
under this policy has intentionally concealed or misrep-
resented any material fact or circumstance relating to
this insurance, whether before or after a loss.

. leeraiizalion Ctause. lf we adopt any revision which

would broaden coverage under this policy without
additional premium, within Eit] days prior to or during
the period this policy is in ettect. the broadened cover-
age will immediately apply to this policy.

. Waiver or Change of Policy Provisions. A waiver or

change of any provision of this policy must be in writing
by us to be valid. Our request for an appraisal or exam»
ination shall not waive any of our rights

. Canoei|ation.

a. You may cancel this poiicy at any time by notifying
us in writing of the date cancelation is to take
effect We may waive the requirement that the
notice be in writing by connrming the date and time
of cancellation to you in writing.

b. We may cancel this policy oniy for the reasons
stated in this condition We will notify you in writing
of the date cancellation takes effect. This cancella~
tion notice may be delivered to you, or mailed to
you at your mailing address shown in the t]eclara»
tions. Proof of mailing shall be sufficient proof of
notioe:

(l] 'rl'v'hen you have not paid the premiem. we may
cancel at any time by notifying you at least 10
days before the date cancellation takes effect
This condition applies whether the premium is
payable to us cr our agent er under any finance
or credit plan.

(2) 'when this policy has been in effect for less than
60 days and is not a renewal with us, we may
cancel for any reason We may cancel by notify-
ing you at least 10 days before the date cancel-
lation takes effect.

(3} 1t‘llirren this policy has been in effect for 60 days
or moro. oral any time if it is a renewal with us.
we may cancel:

(a} if there has been a material misrepresents
lion ot tactwhich, it known to us, would have
- caused us not to issue this policy; or

(b) if the risk has changed substantially since
the policy was issued.

We may cancel this policy by notifying you at
least 30 days before the date cancellation takes
ettect.

{4)When this policy is written for a period longer
than one year, we may cancel for any reason at
anniversary. We may cancel by notifying you at
least 30 days before the date cancellation takes
etfect.

c. When this policy is cancelled, the premium for the
period from the date of cancellation to the expira-
tion date will be refunded. When you request can-
cellation, the return premium will be based on our
miss for such cancellation The return premium
may be less titan a full pro rata retirnd. When we
cancet. the return premium w||| be pro rata.

d. The return premium rnay not be refunded with the
notice of cancellation orwhen the policy ls returned
to us. ln such cases, we will refund it within a rea-
sonable time after the date cancellation takes
effect.

6. Nonrenewal. We may elect not to renew this policy. il

we elect not to renew, a written notice witt be delivered
to you, or maited to you at your mailing address shown
in the Dsctarations. The notice will be mailed or deliv-
ered at least 30 days before the expiration date of this
policy. Proof of mailing shah be suti"rcient proof of
notice.

Y. Assignment. essignment of this policy shall not be

valid unless we give our written consent

8. Subrogation. An lnsured may waive in writing before

a loss all rights ot recovery against any person lt not
waived, we may require an assignment of rights of
recovery for a loss to the extent that payment is made
by us.

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lt an assignment is sought, an insured shal|: mises and property of the deceased covered under __l
a. sign and deliver ali related papers; mrs penal at the nme of dealh:

b. insured includes:

b, cooperate with us in a reasonable manner; and
(‘l} any member of your household who is an

c` do nothing auer a loss to prejudch mich llghts' insured at the lime of your death, but only while
subrogation does not apply under Seotion il to Meiircal a resident of the residence premises and
Payments to Others or Darnage to Property of Others. (2) Wilh respect m your pmpeny' the person having
9. Death. lf any person shown in the Dec|arations or the PI'OPBF temporary GUSIOdY ill the properly tlftl||
spouse ii o resident or the same household dies: appointment and qualitiesth et a boat reple-
sentative

a. we insure the legal representative of the deceased
This condition applies only with respect to the pre- 10- CORlOrmifY tv State LBW- Wl'l€tt 3 PUliCb‘ provision is
in conflict with the applicable iaw of the State in which

this policy is issued, the tew of the State will appty.

OPTlONAL POLlCY PROV]S|ONS

Each Optiona| Policy Provision applies only as shown in a. for bodily injury or property damage arising
the Declaratlons and is subjecttoalt the tenns, provisionsl out of a business owned or bnancidly con-
eirclusicns and conditions of this policy. trol|ed by the insured or by a partnership of
owen BP _ Busmess property me COVERAGE B _ which the insured isa partner or memberl
PERSONAL PROPERTY, Speclal Llrriits of Liabitity, item b. for bodily injury or property damage arising
b., for property used or intended for use in a hosiness, out ot the rendering of or failure to render prc
including merchandise held as samples or for sale or for fessional services of any nature (oiher than
deiivery after salel is changed as fellows: teaching er school administration). This exclu-

nre $1,000 inn is repiacod with tire amount shown in S'°" includes but "°` “°f ""‘"ed tm

the Declarat;ions for this option. tl} computer programming architectural. engi-
opiion au - eusinoss Pursuirs. section ii - ExcLu- ““`°""9 °r'“d“‘°’t“a' des'g" S"“"°"S;
SIONS, item i.b. is modified as toliows: (2} medical, surgical, dental or other services or

1. Section ll coverage applies to the business pur- :F:L?n?:|;(_n;nnc:mwemhe health ofpemons

suits cfan insured who is a:

a. cterical office employee, salesperson. coliectorl
messeriger; or c. for bodily injury to a fellow employee of the
insured injured in the coarse of employment or

(3) beauty or barber services or treatment

b. teacher {eircept college, university and profes-

sional athletic coaches], school principal or d. when the insured is a member of the faculty or
school administrator; teaching staff of a school or coilege:
while acting within the scope of the above listed {1} for bodin injury or property damage aris~
occupations ing out of the maintenancel use, tending or
unloaan of:

2. However. no coverage is provided:
{a) draft or saddle animals. including vehi-

cles for use with them; or

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(biaircrafl, motor vehicles recreational
motor vehicles or watercraii. airbcats,
air cushions or personal watercraft which
use a water iet pump powered by an
internat combustion engine as thc pri-
mary source ofpropulsion;

owned or operated or hired by or for the
insured or employer ot the insured cr used
by the insured for the purpose of instruction
in the use ihcreoi; or

(2) under Corverage llil for bodily injury to a
pupii arising out cf corporal punishment
administered by or at the direction ct thc
insured.

Option FA - Firearms. Filearms are insured for accidental
direct physical loss or damage.

The limits for this option are shown in the Declarattons.
The tirst amount is the limit for any one article; the second
amount is the aggregate imtt for each toss.

The following additional provisions apply:

t. we dc not insure tor any loss to the properly described
in this option either consisting of, or directly and immo-
diately caused by. one or more of the following:

a. mechanical breakdown wear and tear, gradual
deterioraticn;

b. insects or vermin;
any process cf rennishing, renovating, or repairing;

d. dampness of atmosphere or extremes of tempera-
tures;

e. inherent defect or faulty manufacture;
i. rusi, iouiing or explosion ct iirearms;

g. bleakagc, marring, sr:ratching, tearing or deming
unless caused by hre, thieves or accidents to con-
veyanccs; or

h. infidelity of an insured's emptoyees cr persons to
whom the insured properly may be entrusted or
rented;

2. our limit for loss by any Coverage B peril except thcit is
the limit shown in the Eleclarations for Coverage Bl
plus the aggregate |imit;

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3. our limits for loss by theit are those shown in the Doc-
tarations for this option These iimits apply in lieu ot
the Coverage B theft iimit; and

4. our limits for loss by any covered peril except those in
items 2. and 3. are those shown in the Declarations.

Option HC - |'[orne Computor. The COVERAGE B - PER-
SONAL PROPERTY. Special l_lmlts of Liabi|ity, item j.,
for electronic data processing system equipment end the
recording or storage media used with that equipment is
increased t.o be the amount shown in the Declarations for
this option.

Option lO - incidental Business. The coverage provided
by this option applies only to that incidental business
occupancy on die with us.

1. COVERAGE B - PERSONAL PROPERTY is
extended to include equipment, supplies and furnish-
ings usual and incidental to this business occupancyl
this Op!ionai Policy Provision does not include elec-
tronic data processing system equipment or the
recording cr storage media used with that equipment
or merchandise held as samples or for sale or for dcliv~
cry after sale

the Uption iO limits are shown in the Dsclarations.
The hrst limit applies to property on the residence prc-
mises. The second limit applies to property while cit
the residence premisesl These limits ere in addition
to the CDVERAGE Ei - PERSONAL PROPERTY. Spe-
cial l_irniis of Liabi|ity on property used or intended for
use in a business

2. Under Section ti. the residence premises is not con-
sidered business property because an insured occu-
pies a part of it as an incidental business

3. SECTiON ii - EXCLUS|ONS, item 1.b. of Coverage L
and Coverago M is replaced with the io||owing:

b. bodily injury or property damage arising cut
of business pursuits of an lnsured or the rental
or holding for rental ci any part ot any premises
byan insured This exclusion does not apply:

(1) to activities which are ordinarin incident tc
non-business pursuits or to business pur-
suits of an insured which are necessary or
incidental to the use of the residence pre-
mises as an incidental business;

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{2) with respect to Coverage L to the occasional
or part-time business pursuits of an
insured who is under 19 years of age;

t3) to the rental or holding for rental of a resi-
dence of yours:

(a} on an occasional basis tor exclusive use
as a residence;

[b) |n pert. unless intended for use as a resi-
dence by more than two roemers or
boarders;or

{c} in part, as an incidental business or pri~
vate garage;

(4) when the dwelling on the residence pre-
mises is a two family dwelling and you
occupy one part and rent cr hold for rental
the other part; or

(5) to farm land (without buildings), rented or
held for rental tro others. but not ic exceed a
total of 500 acres, regardless of the number
of locations

4. This insurance does not apply to:

3.

bodily injury to an employee of an insured arising
out ot the residence premises as an incidental
business ether than to a residence employee
while engaged in the employees employment by
an lnsured;

. bodily injury to a pupil arising out of corporal pun~

ishment administered by or at the direction of the
insured;

liability arising out cf any acts, errors or omissions
ot an insuredl or any other person for whose acts
an insured is liable, resulting from the preparation
or approval of data, plans, designs opinions
reports, programs specitications, supervisory
inspections or engineering services in the conduct
of an insured's incidental business involving data
processing, computer consulting or computer pro-
gramming; or

. any claim made or suit brought against any

insured by:

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(1) any person who is in the care of any insured
because of child care services provided by or at
the direction of:

(a} any insured;
{b) any employee of any insured; cr

(c] any other person actually or apparently act-
ing on behalf of any lnsured; or

(2] any person who makes a claim because of
bodily injury to any person who is in the care
of any lnsured because of child care services
provided by or at the direction of:

[a) any insured;
{b) any employee of any insured; or

{c} any other person actually or apparently ac,t~
ing on behalfof any insured.

Coverage lvl does not apply to any person indicated
in (1) and (2) above.

This exclusion does not apply to the occasional
chitd care services provided by any insured, cr to
tire part-time child care services provided by any
insured who is under 19 years of age.

option .IF - Jewelry and Furs. Jevre|ry. vratchesl fur gar~
meets and garments trimmed with fur. precious and semi-
precious stones, gold other than goldware, silver other
than silverware and platinum are insured for accidental
direct physical loss or damage

`lhe limits for this option are shown in the Declarations.
The first amount is the limit for any one artic|e; the second
amount is the aggregate limit for each toss.

The folloan additional provisions apply:

1 . we do not insure for any loss to the property described
in this option either consisting of, cr directly and imme-
diately caused by, one or more of the tollevving:

a. mechanical breakdown wear and tear. gradual
deterioration;

b. insects or verrnin;
c. inherent vice; or

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d. seizure or destruction under quarantine or customs
regulations;

2. our limit for loss by any Coverage B peril except theft is
the limit shown in the Declarattons for Covorage B,
plus the aggregate timit;

3. our limits for loss by theft are those shown tn the Dec»
larations for this option These limits apply in lieu of
the Coverage B theft |irnit; and

4. our limits for loss by any covered peril except those in
items 2. and 3. are those shown in the Declarations_

Option SG - Siiverware and Goldware Theft. The
COVERAGE Et - PERSONAL PROPERTY, Specia| Lim-
its of Liability. item i.I ior theft of silverware and gotdware
is increased to be the amount shown in the Declaraiions
for this option

lN WITNESS WHEREOF, this Company has caused this policy to be signed by its President and Secretary at Btoomington.

|llinois.

H»Mm.ld(w.wti, secretary /y/M? l ) Presrdenr

The Board ot Dlrectors, in accordance with Article Vl[c} of this Company's Articles of incorporationl may lror'n time to time dis-
tribute equitably to the holders of tire participating policies issued by said Corrpany such sums out ot its earnings as in its

judgment are proper.

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EXHIBIT “])”
RE: JOSHUA SHARP

PERSONAL ARTICLES POLICY NUMBER 04-BU-8658-7

CaS ent 3

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4700 30th Frovr'dence
Gcnrnr£)la, MO 6621 7-0001

Named insured

H-ZE-QE$Q-FB§B P

SHARP, JOSHUF\

PD BUX 3
RUD\" AR 72952*0!]|]3

ERSONAL ARTICLES POLtGY
romano serv EWAL - litho eochv Penrco is shown as 12

premiums, rules _and forma in effect f_cr each succeeding tp
jthe l\rlcrtgagee.lLrenho|der written notice in compliance wrt

A Btcck cmpany Witlt Home Oitices in loomington, illinois

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DEC[_ARAT|ONS pAGE AMENDEo Nov 2 act a

nancy Number oa.su»scss-?

 

Policy Period Et"tective Date Ex iration Date
12 lvlcnths AUG 26 2016 A G 26 2017
The polio period begins and ends at 12:01 am
standard imc et the named insureds address

 

 

 

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onsumorNPri<?e lndex:241.4 e an 0 a or
MoNT_Hs, this polio vyilt he renewed automatically subject to
choy period l_tl‘rrs policy rs terminated we will give you
the pclrcy provisions or as renewed by law.

 

 

P Amouet of your patsy re amended Nov 2 soto
33 iii r°i°e"Y insurance JEWELHY severance camden
velry as scheduled $ 26 , 425
rscneour_s ATTAcHEo)

Forms, Optiorls, and Endorsemente ENDQHSEMENT pREM|uM
insoan nnTrcLEs Pochv FP~7940,2 lNOFtEASE $` 25 - 23
res sETTLEMENT ENooasErnENT Fe~ssar
FLATroN oo\rEnnGE cotton r

 

 

lTlCE: We have the option of repairtn or
riaoing the lost cr damaged roperty a our

st. ti we agree to a cash set lernent, we will

y you no more than our cost to replace the item.

.ur policy consists ot this page, any endorsements
d the policy lor-m. PLEASE I(EEP THESE TOGETl-tER.

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Prepered NOV 09 2016

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We vvit| provide the insurance described _in this policy in
return_for the premium and compliance vvrth all applicable
provisions of this policy.

J()HN WOOD
479-6324707

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CONTINUED FRGN| FRONT SlDE

EHSONAL ARTICLES POL|CY

 

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Forrns, Opticns, and Endcreel'nents

 

 

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cream-esser SCHED'JLE PAGE 001
H-aEes-Fesa P F

SHARP,MJSHUA

00NSUMER1#MCE|NDEX24L4
('l‘his inflation Goverage index
applies to those items added

cr coverage amount changed .)

Narned insured

 

Propenty Covehed: dewelry
(Inflation Coverage Applies)

 

Item Coverage
Number Description Amount

l RULEX SUBMARINER WATCH STAINLESS STEEL GUMM BLACK

I]IAL NITH NHITE DIJT INBEXES DA`FE & SECUND HAND BLJ'lC|(

CERACHRGM ROTARY BEZEL UN STEEL OYSTER BRACELET

MODEL ti 116610ASUB97 SERIAL ii 29QEE790 $ 8,550 _
5 GENTS RDLEX UYSTER PERPETUAL YACHT"MASTER HODEL

116622, 40HM, STEEL AND PLATINUM BEZEL, 31 JEWEL

CliR(li'lIJMETER MOVEMENT, SAPPHIRE CRYSTAL, iiiiITH I]YSTER

BRACELET 78860, SERIAL #BlAZgZCZ. $ 11,550
4 added GENTS BREITLING AVENGER II SEAWULF NATCH STEEL SATIN

FINISH PRUFESSIUNAL III STEEL S/N 2885637 $ 4,325

MBS

|i0393€ FIW. 011»2|]02

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EXHIBIT “E”
RE: JOSHUA SHARP

STANDARD-FORM PERSONAL ARTICLES POLICY NUI\’[BER FP-7940.2

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&.State F'ar'mth

 

 

State Farm®
Persona| Artic|es
Policy

 

FP-`i'940,2

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D EC L.ARATEONS

Your Name

Policy Perioc|

C|asses of Prcperty
Amounts of lnsurance
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LOSSES lNSURED AND LOSSES NOT lNSUREDQ

OPTIONAL POLICY PROVISIONS..,..................

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PERSONAL ARTICLES POLlCY

|n this policy, "you" and "your" refer to the "named insured" same household "We", "us" and "our" refer to the Company
shown in the Det:|arations and the spouse ita resident in the shown in the Deo|aralions.

PROPERTY COVERED
We cover the Classes of Properly shown in the Declarations.

TERR|TOR|AL LlM|TS
Wo cover the property described while it is covered only while within tha United States and
anywhere in the world. chever, Firie Arts arc Ganada.

LOSSES iNSURED AND LOSSES NOT lNSURED

Wa insure for accidental direct physical loss or damage to 2. Soizure or destruction under quarantine cr customs
tlio property covered except loss or damage caused directly iegutaiions_
or indirectly by any ofthe following Such loss or damage is

excluded regardless of any other cause or event which 3» Al'lit Ofdef Dr iHW Df a governmental Ol' municipal

contributes concurrently or in any sequence to the loss or BUihOIiW-
damage` 4. Risks of contraband illegal transportation or trade.
1. li'ti'arl including: _
5. Nucloar Hazard, meaning:
a undeclared wai", , _ , 1
b own war a. any nuclear roacllon, radiation or radioactive
_ ’_ contaminationl all whether controlled or
c insurieciion: uncontrolled or however caiced; and
d rebelli°n: b. any effect of any of those.
3 ie""°-|U"”"? __ l Loss caused by the nuclear hazard is riot considered
t. warlike act br a iiii|ilaiii force iii military DeiSOiiiiel; loss caused by nre, omission or smoke oiroi:i less by
g_ destruction' geizure or use for a n'l|ifary purpose; fire reSU"i|'lQ from th nuclear hazard is OOVBFEd.
or 6. Mcotianica| breakdownl wear and toar. gradual
li. any efie.ct of any of these deterioration and inherent vice.
Dischargo of a nuclear weapon will be deemed a y_ uermin museum

war|ike act even if accidenlal.
SP_ECIAL EXCLUSIONS

This policy does not apply: b. to property on exhibition al fairgrounds or on the
. . premises of national or international expositions.
1' 'f F'"e ms are °°"e'ed: untess the premises are covered by this policy.

3- to damage CB'JSBd bit any repaiiil'l.fl. FBS\OF'i-‘liifll\ OF 2. if Sporls Equipment is coverod:
rotouching prcoess;

h 2

a. to loss or damage caused by:

 

 

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(1} any process ot rehnishing, renovating or
repairing;

(2} dampness of atmosphere andfor extremes of
temperature;

(3) inherent defect or faulty manufacture;
(4) rust, footing or explosion ct tirearms;

b. to breakage, rnaning, scratching, tearirig. cr
dealing unless caused by fire, thieves or accidents
to conveyances;

c. to infidelity ct lnsured's employees or persons to
whom the covered property may be entrusted cr
rented;

d. to loss or damage to:

{1} outboard motors, boats andtor their
accessories;

(2) t:iicyclesl their equipment or accessorics; and

(3) equipment, clothing or accessories used in
connection with the game of golf.

it Stamp and Coin Collections are covered:

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a. to fadiiig, creasing, scratchingl tearing. thtnitingl
transfer ot colors, inherent defect dampness,
extremes of temperature gradual depreciatjoii, or
damage front handling or being worked upon;

b. to disappearance ct individual stamps. coins or
other dams unless the item ls described and
scheduled with a specific amount of insurance, or if
the item is mounted in a volume and the page tc
which it is attached ls also lost;

c. to loss of or damage to property which is:

[1) in the custody of transportation companies
unless such shipments are made by ralhiray
express cr armored car. Shipments by mall
are covered only if made by registh mail or
insured parcel pcst; or

{2} not an actual part of a stamp, money or
numismatic collection

d. to theft from any unattended automobile unless in
the custody of railway express, armored motor car
companies, cr while being shipped by registered
mail or insured parcel post

COND|TIONS

Conformiiy to State Law. W|'ien a policy provision is
in conttict with the applicable law ct the State in which
this policy is issued, ttie law of the State will appty.

Concoatmcnt cr Fraud. This entire policy will he void
lf, whether before drafters lossl you have intentionally
concealed cr misrepresented a material fact or
circumstance relating to this insurance

Loss Setttement. We have the option cfrepaiiing
or replacing the lost or damaged property Unless
otherwise stated in this pc|icy. covered property
values will be determined at the time of loss or
damage We witt pay the cost ct repair er
replacementl but not more than the smallest of the
following amounts:

a. the full amount of our cost to repair the

property to its condition immediately prior to

the loss or damage;

b. the full amount of our cost to replace the item
with one substantially identical to the item lost
or damaged;

c any special limit of iabitity described in this
policy; or _
d. the limit of liability applicable to the property

Loss to a Patr or Set. tn case of loss to a pair or
Sel we may elect to:

a. repair or replace any part to restore the pair or
set to its value before the loss; or

b. pay the difference between actual cash value
of the properly before and alter the toss.

Loss Clause. The amount of insurance under this
policy will not be reduced except for a total loss of a
scheduled ttem. We will refund the unearned premium
applicable to such item after the loss or you may apply

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B.

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tt to the premium due for the replacement of the
scheduled tlern.

Appraisal. lt you and we tail to agree on the amount of
loss, either one can demand that the amount of the loss
be set by appraisal. |f either makes a written demand
for appraisal, each witt select a competent independent
appraiser and notify the other ct the appraisers identity
within 20 days of receipt of the written demand

The two appraisers witt then select a ccinpetent,
impartial umpire. |f the two appraisers are unable to
agree upon an umpire within 15 days, you or we can
ask a judge of a court of record in the state of your
residence to select an umpire. The appraisers will then
set the amount of the loss. if the appraisers submit a
written report of an agreement to us, the amount agreed
upon will e the amount of the |oss.

|f the appraisers fail to agree within a reasonable time,
they will submit their differences to the umpire. Written
agreement signed by any two of these three witt set the
amount of the loss. Eacti appraiser will be paid by the
party selecting that appraiser. Other expenses of the
appraisal and the compensation ct the umpire will be
paid equally by you and us.

Your Duttes After Loss.

occurs, you must:

a. protect the property frcrn further loss and take all
steps possi le to minimize the |oss. Expertses
incurred will be borne by you and us proportionate
to our respective interssts;

b. report as soon as practicable in writing to us or our
agent an loss or damage which may become a
claim un er this poftc (ln case of theltl the police
are also to be notifiedii and

c. fite with us or our agent, within 90 da s after
discovery of the loss, a signed sworn pro ci loss.
This will state the facts and amount of the loss to
the best of your knowledge

Examination Under Osth. Ycu agree:

a. to be examined under oath and subscribe to the
same as often as we reasonably require;
b. that employeesl members of your household or

others will be produced tor examination under oath
to the extent that it is within your power to do so;

c. to produce, if requested the remains of the
covered property; and

ln case a covered loss

10.

11.

t2.

13.

14.

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d. to produce such records as we may need to verify
the claim and its amount. and tc permit copies of
such records to be made if needed.

Sult Against Us. Nc action will be brought untess:

a. there has been compliance with the policy
provisions; and

b. ttie loss has become payable as specified in the
CONDthON entitled "Loss Payment".

Any action must tie started within one year after the
occurrence causing loss or damage

Loss Payment. We will adjust all losses with you. We
will pay you unless some other person is named in the
policy or is legally entitled to receive payment Loss will
be payable 60 days after we receive your Prcof of Loss
and:

a. we reach agreement with ycu;
b. there is an entry of a linal iudgment; or
c. there ts a h|ing of an appraisal award with us.

Subrogation. in the event ot loss which we believe
may be collectible from othersl we may pay in the form
of a loan tc be repaid out cf any recoveries from others.
You will cooperate tn every way possible to assist in
such recovery from cthers. We willl at our expense.
take over your rights against others to the extent cf our
payment

No Banefit to Bai|ee. No person or organization
having custody ot the property and to be paid for
services will benth from this insurance

Other insurancel tr at the time of loss cr damage there
is other insurance available which would apply to the
property tn the absence ct this policy, the insurance
under this policy will apply only as excess insurance
over the other insurance

Cancet|ation.

a. You may cancel this policy at any time by notifying
eisfe in writing ct the date canceilation is tc take
e ci.

b. We may cancel this policy only for the reasons
stated in this condition We will notify you in
writing of the date cancellation takes effect This
cancellation notice may be delivered to you, or
mailed to you at your mailing address shown in the
Declaraticns. Prcof of mailing will be suthcient

proof of notice:

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(1} When you have not paid the premium. we
may cancel at an time by notifying you at
least 10 days bears the date cancellation
takes effectl this condition appiies whether
the premium is payable to us or to our agent
or under any finance or credit plan.

(2} When this policy has been in effect for less
than 60 days and ls not a renewal with usI we
may cancel for an reason We may cancel
by notifying you a least 10 days before the
date cancellation takes effect

(3) When this policy has been in effect for 60
days or mcre. or at any time if it is a renewal
wit us, we may cancet:

(a] if there has been a material
misrepresentation of fact which, if known
to us, would have caused us not to issue
this policy; or

(b} if the n`sk has changed substantially
since the policy was issued

We may cancel this policy by notifying you at
least 30 days before the date cancellation
lakes effect

{4) When this policy is written for a period longer
then one year. we may cancel for any reason
al anniversary. We may cancel by notifying
you at least 3[} days before the date
cancellation takes effect

c. Wiien this policy is cancelled by us, the premium
for the period from the date of cancellation to the
expiration date will be refunded When you
request cancellationl the return premium witt be
based on our rules for such cancellation.

d. Sometimes the return premium is not refunded
with the notice of cancellation or when this policy is
returned to us. in such casesl we will refund lt
within a reasonable time after the date canceilalion
takes effect

15.

16.

17.

18.

19.

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Non-Renowal. We may elect not to renew this poiicy.
We may do so by delivery lo you, or mailing to you at
your mailing address shown in the Declaralions, written
notice. The notice will be melted or delivered at least
30 days before the expiration date of this poiicy. Prcof
of mailing will be sufficient proof cf notioe.

Waiver or Change of Policy Provisions. A waiver or
change of any policy provision must be in writing by us
to be valid. Our request for an appraisal or examination
will not waive any of our rights

Liberallzation Clause. if we adopt a revision which
would broaden coverage under this policy without
additional premium within so days prior to or dun`ng the
policy period the broadened coverage will immediately
apply to this poiicy. '

Nowiy Acquired Property.

at ‘r'liith respect to jewelry. lurs, cameras and musical
instnrrnents, we cover newly acquired properly of a
class already covered Coverage wit not exceed
25% of the amount of assurance for that class of
property or $10.000, whichever is iess. You must:
[1) report this newly acquired property to us
un`thin 30 days of acquisition; and
{2) pay the additional premium from the date
acquired
b. With respect to fine arts, we cover newly acquired
property of this class if already covered Covera c
will not exceed 25% of the amount of insllance
this ciass. You must:
(1} report this newly acquired property to us
within 30 days of acquisition; and
(2} pay the additional premium from the date
acquired

intentional Acts. if you or any person insured under
this policy causes or procures a loss to properly
covered under this policy for the purpose of obtaining
insurance benefits t en this policy is void and we wilt
not pay you cr any other insured for this toss.

SPEC!AL COND[T|ONS

Fine Arts. You agree that the covered property will be

packed and unpactted by competent packers

Wc agree that the amount shown for each scheduled
item is the value of the item.

in case of the total loss of any item or items which are
pari of a set:

2

a. we agree to pay you the full value of the set as
shown on the schedule; and

b. you agree to surrender the remaining items cf the
set to us,

Golfer‘s Equipment. Golfer‘s equipment includes golf
clubsl golf clothing end golf equipment tnot watches.

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jewelry and stock for sate) which are your properly.
‘i'our other clothing is covered while tn a locker located
in a building used in connection with the game of go|f.

Gotf belts are covered only it loss is caused by tire or
burglary Burg|ary oovera e pties only if the gott balls
are taken from within a u` ing, room or locker by a
person making unlawful entry by force. There must be
visible marks ottorced entry upon the premises

Mustcal lnstrunients. You agree that no instrument
ptayed for pay during the policy term will be covered.
This condition applies unless changed by endorsement
and additional premium is paid at our current rates.

Silverware._ Pens: pencils, tlasks, smoking implements
or accessories or rlerris of personal adomment are not
covered as “Silverware".

Sports Equiprnent. in case of loss we will pay no
greater proportion of the loss than the amount of
insurance bears to the actual value of the property at
the time ot loss.

Slarnp and Coln Co|lcctions.
a. We cover:

(1) postage stamps and other philatelic roperty
owned by or in custody or conth of the
lnsured. This includes the books, pages
andlor mountings used; and

(2) rare and current coinsl medals. paper money,
bank notes, tokcns of money and other
numismalic roperly owned by or in custody
or control o the |nsured. This includes coin
albums, containers, frames, cards and display
cabinets in use with such collection

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b. |n case ot loss the amount'payab|e will be
determined as follows:

(1} li loss is to a scheduled item we will pay no
more than the amount shown.

{2) lt loss is to scheduled property described as
pairs, strips, blocks, series, sheets, coversl
trames. cards or the like, we witt lan iri the
event oi total loss no more than t e amount
shown. lri the event ot a partial loss we wilt
pay no more than the cash market value of
the whole set less the cash market value cf
ttie remainder at the lime of loss. lt is agreed
that If the property is covered for less than the
cash market value payment will be limited to
the proportion that the amount ot insurance
bears lo the cash market value.

(3) ln all other cases ot loss to covered property.
we witt pay rio more than the actual cash
market value of the property at the time of
loss. Payrrient will not exceed $250 lor:

(a} orie stemp, coin cr other individual
arlicle;or

(b] one pairl strip, block, series. sheet,
oover, frame, card or the like.

(4) We will not pay a greater proportion ot a loss
on unscheduled property than the amount of
insurance on that unscheduled property bears
to the cash market value at the time ot loss.

Cameras. You agree that no camera used for pay
during the policy term will be covered This condition
applies unless changed by endorsement end additional
premium is paid at our current rates.

OPTIO NAL POL|C‘i' PROVlS|ONS

Each Opt`ional Provision applies onty as shown in the
Dectarattons or Eirtension Certincate.

Optiori l - inflation Coverage.

1.

This option witt apply only to those classes of property
which indicate tri the schedule that I‘lrittation Coverage
Appltes".

The amount cf insurance applicable to those classes ct
property will be increased at the same rate as the
increase in the inflation coverage index shown in the
Declarations.

a. To find the limits on a given date:

L

(1) divide the index on that date by the index as
ol the effective date of the inllation coverage
provision; then

(2) multiply the resulting factor by the amount of
insurance applicable to the property covered.

The limits of liability will not be reduced to less than the
amounts shown in the schedule

b. lt during the term ot this policy, your

{‘i) change the amount of insurance ori any
property to which lntiation Coverage applies;

M d

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V

(2) add properly to which intiation Coverage set, we agree to pay you the full amount of the value ct such
EPPEBSi pair or set as specliied in the schedule (iN ACCORDANCE

the effective date ofihis |n|iai;gn Coverage @n mar WFFH THE LOSS SET¥LEMENT COND|T|ON). You agree
property is changed to coincide with the effective to surrender the remaining item or items of the pair or set to
date oi the change or additionl us,

0ption 0 - Broad Paii' and Set Coveragc. |n the event of
the total loss of an item or items which are part of a pair or

iN WiTNESS WHEREOF, this Company has executed and attested these presents; but this policy shall not be valid unless
countersigned by the duly authorized Agent of this Company at the agency hereinbefore mentionod.

g§,mm.l@inna gm ,¢/M;.Q mmi

The Board oi Directors, in accordance with Ariic|e Vl(c} of this Company's Artides cl lricorporaliori, may from lime to lime distribute
equitably to ttio holders ct the participating poecies issued by said Company such sums out of its earnings as in its judgment is proper.

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IN THE CIRCUIT COURT OF CRAWFORD COUNTY, ARKANSAS
CIVIL DIVISION

JOSHUA SHARP PLAINTIFF

VS. CASE NO.

 

S'I`A'I`E FARM FIRE AND CASUALTY COMPANY
& JOHN ])OES I-X DEFENDANTS

SUMMONS
THE STATE UF ARKANSAS TO DEFENDANT:
STATE FARM FIRE AND CASUALTY COMPANY

A lawsuit has been filed against you. The relief demanded is stated in the attached Complaint.
Within 30 days after service of this summons on you (not counting the day you received it) -_~ or
60 days if you are incarcerated in anyjail, penitentiary or other correctional facility in Arlr_ansas
- you must tile with the clerk of this court a written answer to the Complaint cr a motion under
Rule 12 of the Arkansas Ru]es of Civil Procedure.

The answer or motion must also be served on the plaintiff or plaintiii‘s attorney, whose name and
address are:

Brinlcley Cook-Campbell
Law Ot`iices cf Craig L. Cock
319 N. a“' St.

Fort Smith, Arkansas 72901

If you fail to respond Within the applicable time period, judgment by default may be entered
against you for the relief demanded in the complaint

 

CLERK OF COURT
Address of Clel‘lr’S OiTlce
Crawford County Circuit Clerk
300 Main Street #22 Signature of Clerk cr Deputy thrk
Van Buren, AR 7295 6

[SEAL] Date:

 

 

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Arkansas Judiciary

 

   

Case Title: JOSHUA SHARP V STATE FARM FIRE & CASUALTY
CO ETAL
Case Number: l?CV-l?-SS'?'
Type: SUMMONS ~ FILER PREPARED
So Ordered
’l<{)tl;ttl)./ (“M/:
KRISTEN EDWARDS

ElaCtro\'llCS.lly signed by KDEDWARDS on 2017-1 1-[}8 16237!49 page 2 Ot 2

